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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    CASA SYSTEMS, INC., et al., 1                                Case No. 24-10695 (KBO)

                              Debtors.                           (Joint Administration Requested)


                              DEBTORS’ MOTION FOR
                       ENTRY OF AN ORDER (I) AUTHORIZING
                    DEBTORS’ LIMITED USE OF CASH COLLATERAL,
            (II) GRANTING ADEQUATE PROTECTION TO SECURED LENDER,
     (III) MODIFYING AUTOMATIC STAY, AND (IV) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (the “Motion”): 2

                                            RELIEF REQUESTED

             1.      The Debtors seek entry of an order (the “Proposed Order”), substantially in the form

attached hereto as Exhibit A, granting, among other things, the following relief:

                  a. authorizing, but not directing, the Debtors to:

                             i.      use cash collateral, as such term is defined in section 363(a) of the
                                     Bankruptcy Code (the “Cash Collateral”), solely in accordance with
                                     the terms of the Proposed Order annexed hereto as Exhibit A;

                             ii.     subject to the Carve-Out, granting and affirming the adequate
                                     protection being provided to the Prepetition Secured Parties (as
                                     defined below);



1
  The Debtors in these chapter 11 cases, together with the last four digits of the Debtors’ federal tax identification
number, are Casa Systems, Inc. (8867), Casa Systems Securities Corporation (1151), and Casa Properties LLC
(6767). The Debtors’ service address is 100 Old River Road, Andover, MA 01810.
2
  A detailed description of the Debtors and their business, and the facts and circumstances supporting this Motion and
the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Edward Durkin in Support of Chapter
11 Petitions and First Day Pleadings and the Declaration of Brian Whittman in Support of the Debtors’ Motions to
Use Cash Collateral, Approve Bidding Procedures, and Approve the Cloud/RAN Sale, and Other First Day Pleadings,
as applicable (collectively, the “First Day Declarations”), filed contemporaneously herewith. Capitalized terms used
but not defined herein shall have the meaning ascribed to such terms in the First Day Declarations, as applicable.
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                       iii.    modify the automatic stay imposed under section 362 of the
                               Bankruptcy Code to the extent necessary to implement and
                               effectuate the terms and provisions of the Proposed Order;

                       iv.     waive any applicable stay with respect to the effectiveness and
                               enforceability of the Proposed Order (including a waiver pursuant
                               to Bankruptcy Rule 6004(h)); and

            b. granting related relief.

                                 JURISDICTION AND VENUE

       2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), to the entry of a final order by the Court in connection with this Motion, to the extent that

it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The statutory and legal bases for the relief requested in this Motion are sections 105,

361, 362, and 363 of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules

2002, 4001, 6004, and 9014, and Local Rule 4001-2.

                              BACKGROUND OF THE DEBTORS

       5.      The Debtors operate a global communications technology business that offers end-

to-end physical, virtual, and cloud-native 5G infrastructure and customer premise networking

equipment solutions. These solutions, in turn, enable the Debtors’ customers to transform and

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expand their public and private high-speed data and multi-service communications networks. The

Debtors’ solutions are commercially deployed in over 70 countries by more than 475 customers,

including regional as well as some of the world’s largest Tier 1 communications service providers,

serving millions of subscribers globally.

        6.       On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under sections 101–1532 of the Bankruptcy Code in the Court. The Debtors

continue to operate their businesses and manage their properties as debtors in possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code. No party has requested the appointment of

a trustee or examiner in these cases, and no statutory committee has been appointed.

        7.       Additional information regarding the Debtors’ business, capital structure, and the

circumstances preceding the Petition Date may be found in the First Day Declarations.

   BANKRUPTCY RULE 4001 AND LOCAL RULE 4001-2 CONCISE STATEMENTS

        8.       Pursuant to Bankruptcy Rules 4001(b) and (d) and Local Rule 4001-2(a), the

Debtors submit the following concise statement of the material terms of the Proposed Order.

                               Summary of Material Terms                                             Location
 Parties with an Interest   The Prepetition Agents, for themselves and on behalf of the lenders    ¶E
 in Cash Collateral         from time to time party thereto (such lenders, the “Prepetition
                            Lenders” and, together with the Prepetition Agents, the “Prepetition
 Bankruptcy Rule            Secured Parties”).
 4001(b)(1)(B)(i)

 Purposes for Use of        To provide working capital and funding for general corporate           ¶ F(ii)
 Cash Collateral            purposes and to pay certain costs of administration of these cases.

 Bankruptcy Rule
 4001(b)(1)(B)(ii)

 Cash Collateral Budget     A 10-week cash distribution and receipts budget (the “Cash             ¶3
                            Collateral Budget”) is attached as Exhibit 1 to the Proposed Order.
 Bankruptcy Rule            The Budget is subject to Permitted Variances as set forth in
 4001(b)(1)(B)(ii)          Paragraph 3 of the Proposed Order.
 Termination Events         Unless a Termination Event is waived by the Superpriority Agent        ¶ 10
                            (acting at the direction of the Required Consenting Term Loan
 Bankruptcy Rule            Lenders) in writing, subject to the applicable notice periods and
 4001(b)(1)(B)(iii),        other terms set forth in paragraph 11 of the Proposed Order, the
 Local Rule 4001-           Debtors’ right to use Cash Collateral shall terminate, without prior

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                        Summary of Material Terms                                             Location
2(a)(i)(M)           order of this Court or any further action by the Prepetition Secured
                     Parties, on the earliest to occur of any of the following (each,
                     a “Termination Event”):
                     • The Debtors’ failure to comply with any material provision of
                          the Interim Order and such failure to comply (if curable) shall
                          not have been cured within three (3) business days after
                          provision of notice of such failure from the Superpriority
                          Agent;
                     • the Debtors shall have breached the Variance Covenant for any
                          Testing Period with respect to an Approved Budget;
                     • the failure of the Debtors to make any payment due under the
                          Interim Order within five (5) business days after such payment
                          becomes due;
                     •     the date of the Debtors’ filing of an application, motion, or
                          other pleading seeking to amend, modify, reverse, revoke, stay,
                          rescind, vacate, supplement, or extend the Interim Order
                          without the prior written consent of the Required Consenting
                          Term Loan Lenders;
                     • the Interim Order ceases, for any reason to be in full force and
                          effect;
                     • the Court shall have entered an order amending, reversing,
                          revoking, staying, rescinding, vacating, supplementing,
                          extending, or otherwise modifying the Interim Order in any
                          material respect without the consent of the Required
                          Consenting Term Loan Lenders;
                     • the date of the Debtors’ filing of any application, motion, or
                          other pleading seeking approval of debtor in possession
                          financing without the consent of the Required Consenting
                          Term Loan Lenders, or the entry of an order approving debtor
                          in possession financing for the Debtors without the consent of
                          the Required Consenting Term Loan Lenders;
                     • the entry of any postpetition judgment against the Debtors in
                          excess of $500,000
                     • except with respect to applications for the payment of fees of
                          Retained Professionals, the date an application, motion, or
                          other pleading is filed by the Debtors for the approval of any
                          superpriority claim or any lien that is pari passu with or senior
                          to the Adequate Protection Claims, the Adequate Protection
                          Liens, the Prepetition Liens or the Prepetition Secured
                          Obligations without the prior written consent of the Required
                          Consenting Term Loan Lenders;
                     • the date any of the Debtors or any affiliate of the Debtors files
                          any pleading or commences any action against any Prepetition
                          Secured Party challenging the validity or enforceability of any
                          of the Prepetition Secured Obligations or any of the Prepetition
                          Liens or seeking to avoid, disallow, subordinate, or
                          recharacterize any claim, lien, or interest held by any of the
                          Prepetition Secured Parties arising under or related to any of
                          the Prepetition Secured Obligations;
                     • the date any court enters an order dismissing these chapter 11
                          cases, converting these chapter 11 cases to cases under chapter
                          7 of the Bankruptcy Code (each, a “Successor Case”),
                          appointing a chapter 11 trustee in any of these chapter 11 cases,
                          or an examiner with expanded powers relating to the operation

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                          Summary of Material Terms                                               Location
                           of the Debtors or administration of any of these chapter 11
                           cases, or terminates the Debtors’ exclusive periods under
                           Bankruptcy Code section 1121, unless, in each case, consented
                           to in writing by the Required Consenting Term Loan Lenders;
                      • the Court has entered an order granting relief from the
                           automatic stay in order to permit any party to proceed against
                           any Prepetition Collateral or Adequate Protection Collateral
                           with a fair market value in excess of $500,000;
                      • the Restructuring Support Agreement shall have been
                           terminated in accordance with its terms; and
                      • the Milestones (defined below) are not met, unless extended or
                           waived by the Required Consenting Term Loan Lenders (as
                           defined in the Restructuring Support Agreement).
Adequate Protection   The Prepetition Secured Parties are entitled to adequate protection       ¶¶ 6–7
Provided for Use of   of their respective interests in the applicable Prepetition Collateral
Cash Collateral       (including Cash Collateral), to the extent of any Diminution in
                      Value of their interests therein. As adequate protection, the
Bankruptcy Rule       Prepetition Agents, for the benefit of the Prepetition Secured
4001(b)(1)(B)(iv)     Parties, are hereby granted the following Adequate Protection
                      Obligations:
                      • Superpriority Adequate Protection Liens. To the extent of any
                           Diminution in Value of their interests in the Prepetition
                           Collateral, the Superpriority Agents, for the benefit of the
                           Superpriority Secured Parties, are hereby granted (effective
                           and automatically perfected upon the Petition Date and without
                           the necessity of the execution by the Debtors of security
                           agreements, pledge agreements, mortgages, financing
                           statements or other agreements), additional and replacement
                           valid, binding, enforceable, non-avoidable, effective and
                           automatically perfected liens on, and security interests in (the
                           “Superpriority Adequate Protection Liens”) any and all
                           tangible and intangible pre- and postpetition property of the
                           Debtors, whether existing before, on or arising after the Petition
                           Date, together with any proceeds thereof, including, without
                           limitation, any and all cash and any investment of such cash,
                           inventory, accounts receivable, other rights to payment
                           whether arising before or after the Petition Date, contracts,
                           properties, plants, fixtures, machinery, equipment, general
                           intangibles, goods, investment property, documents,
                           instruments, securities, chattel paper, interests in leaseholds,
                           real properties, deposit accounts, securities accounts, patents,
                           copyrights, trademarks, trade names, rights under license
                           agreements and other intellectual property, capital stock of
                           subsidiaries, wherever located, and the proceeds, products,
                           rents and profits of the foregoing, whether arising under
                           Bankruptcy Code section 552(b) or otherwise, of all the
                           foregoing, excluding causes of action under chapter 5 of the
                           Bankruptcy Code (“Avoidance Actions”), but, upon entry of
                           the Final Order, including proceeds of Avoidance Actions
                           (collectively, the “Adequate Protection Collateral”), without
                           the necessity of the execution, recordation or other filing of any
                           security agreements, control agreements, pledge agreements,
                           financing statements, mortgages, or other similar documents.



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                                Summary of Material Terms                                              Location
                              •  To the extent of any Diminution in Value of their interests in
                                 the Prepetition Collateral, the Stub Agent, for the benefit of the
                                 Stub Secured Parties, is hereby granted (effective and
                                 automatically perfected upon the Petition Date and without the
                                 necessity of the execution by Casa of security agreements,
                                 pledge agreements, mortgages, financing statements or other
                                 agreements), additional and replacement valid, binding,
                                 enforceable, non-avoidable, effective and automatically
                                 perfected liens on, and security interests in (the “Stub Adequate
                                 Protection Liens” and, together with the Superpriority
                                 Adequate Protection Liens, the “Adequate Protection Liens”),
                                 the Adequate Protection Collateral solely of Casa, without the
                                 necessity of the execution, recordation or other filing of any
                                 security agreements, control agreements, pledge agreements,
                                 financing statements, mortgages, or other similar documents.
                              • Ranking of Liens. The Carve-Out, the Prepetition Permitted
                                 Liens, the Prepetition Liens and the Adequate Protection Liens
                                 granted hereunder shall have the following priority on the
                                 Shared Collateral and Non-Shared Collateral:

                                        Shared Collateral             Non-Shared Collateral
                                       First, the Carve-Out        First, the Carve-Out
                                       Second, the
                                                                   Second, the Prepetition
                                       Prepetition Permitted
                                                                   Superpriority Permitted Liens
                                       Liens
                                       Third, Adequate             Third, the Superpriority
                                       Protection Liens 3          Adequate Protection Liens
                                       Fourth, the                 Fourth, the Prepetition
                                       Prepetition Liens 4         Superpriority Liens
                                                                   Fifth, the Stub Adequate
                                                                   Protection Liens

                              •    Superpriority Section 507(b) Claims. To the extent of any
                                   Diminution in Value of their interests in the Prepetition
                                   Collateral, the Superpriority Agents, for the benefit of the
                                   Superpriority Secured Parties, are hereby granted allowed
                                   administrative expense claims against each Debtor with the
                                   priority set forth in section 507(b) of the Bankruptcy Code (the
                                   “Superpriority Adequate Protection Claims”); provided, that
                                   the Superpriority Adequate Protection Claims shall be subject
                                   and subordinate to the Carve-Out. The Superpriority Adequate
                                   Protection Claims shall be payable from and have recourse to
                                   all Adequate Protection Collateral, including, subject only to
                                   entry of the Final Order, any proceeds or property recovered in
                                   connection with the pursuit of the Avoidance Actions.
                              •    Stub Section 507(b) Claims. To the extent of any Diminution
                                   in Value of their respective interests in the Prepetition


3
         For the avoidance of doubt, the Superpriority Adequate Protection Liens and the Stub Adequate Protection
Liens shall be pari passu.
4
         For the avoidance of doubt, the Prepetition Superpriority Liens and the Prepetition Stub Liens shall be pari
passu.

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                                Summary of Material Terms                                                Location
                                  Collateral, the Stub Agent, for the benefit of the Stub Secured
                                  Parties, is hereby granted an allowed administrative expense
                                  claim against Casa with the priority set forth in section 507(b)
                                  of the Bankruptcy Code (the “Stub Adequate Protection
                                  Claims” and, together with the Superpriority Adequate
                                  Protection Claims, the “Adequate Protection Claims”);
                                  provided, that, the Stub Adequate Protection Claims shall be
                                  subject and subordinate to the Superpriority Adequate
                                  Protection              Claims                 and             the
                                  Carve-Out. The Stub Adequate Protection Claims shall be
                                  payable from and have recourse to all Adequate Protection
                                  Collateral at Casa, including, subject only to entry of the Final
                                  Order, any proceeds or property recovered in connection with
                                  the pursuit of the Avoidance Actions.
                             • Reporting. The Debtors shall comply with all reporting
                                  requirements set forth in the Superpriority Credit Documents.
                             • Right to Seek Additional Adequate Protection. This Interim
                                  Order is without prejudice to, and does not constitute a waiver
                                  of, expressly or implicitly, the rights of the Prepetition Secured
                                  Parties to request additional or different forms of adequate
                                  protection at any time or any party in interest’s right to object
                                  thereto.
Carve Out                    The Proposed Order provides for a “Carve Out” for certain statutory       ¶4
                             fees and allowed professional fees of the Debtors and any Creditors’
Bankruptcy Rule              Committee appointed pursuant to section 1103 of the Bankruptcy
4001(b)(1)(B)(iii)           Code, including Professional Fees incurred prior to delivery of a
                             Trigger Notice, a $750,000 Debtor Post-Trigger Cap for Debtor
                             Professional Fees incurred after delivery of the Carve Out Notice,
                             and a $250,000 Committee Post-Trigger Fee Cap for Committee
                             Professional Fees incurred after delivery of a Trigger Notice as
                             more fully detailed in the Proposed Order.



                            Local Rule 4001-2 Concise Statements                                         Location
The Amount of Cash           The Debtors shall be allowed to use Cash Collateral in the amount         ¶2
Collateral the Debtors       set forth in the Approved Budget subject to Permitted Variances
Seek Permission to Use       (defined below).

Local Rule
4001–2(a)(i)(A)
Fees                         None.                                                                     N/A

Local Rule
4001–2(a)(i)(B)
Provisions that Limit the    None.                                                                     N/A
Court’s Discretion

Local Rule
4001–2(a)(i)(C)
Funding of Non-Debtor        The Debtors shall be allowed to use Cash Collateral in the amount         ¶2
Affiliates With Cash         set forth in the Approved Budget subject to Permitted Variances
Collateral                   (defined below).

Local Rule

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                         Local Rule 4001-2 Concise Statements                                       Location
4001–2(a)(i)(D)
Budget, Reporting, and    Attached to the Interim Order as Exhibit 1 is a 10-week cash flow        ¶3
Variance Covenants        forecast for the 10-week period commencing on the Petition Date,
                          approved by the Required Consenting Term Loan Lenders, which
Local Rule                reflects on a line-item basis, the Debtors’ and non-Debtor affiliates’
4001–2(a)(i)(E)           budgeted cash receipts, disbursements and liquidity (the “Approved
                          Budget”). The Debtors shall deliver an updated budget to the
                          Prepetition Secured Parties on the Friday of every fourth week after
                          the Petition Date covering the 10-week period commencing on the
                          first day (which, for the avoidance of doubt, shall be Tuesday) of
                          each such week, respectively (each, the “Proposed Updated
                          Budget” and, together with the Approved Budget, the “Budgets”)
                          and shall deliver to the U.S. Trustee and any statutory committee
                          appointed in these chapter 11 cases any Approved Budget. The
                          Proposed Updated Budget shall constitute an Approved Budget
                          only if such Proposed Updated Budget is acceptable to the Required
                          Consenting Term Loan Lenders in their sole discretion, as set forth
                          in writing by the Required Consenting Term Loan Lenders. Unless
                          the Debtors receive a written acknowledgement from the Required
                          Consenting Term Loan Lenders that a Proposed Updated Budget is
                          acceptable to such lenders in their sole discretion, the then most
                          recent Approved Budget shall remain in full force and effect. Each
                          Proposed Updated Budget shall be accompanied by such
                          supporting documentation as reasonably requested by the
                          Prepetition Secured Parties. Each Budget shall be prepared in good
                          faith based upon assumptions believed by the advisors to the
                          Debtors to be reasonable.

                          Variance Reports. On the Friday of each calendar week following
                          the Petition Date and for each calendar week thereafter, by no later
                          than 5:00 p.m. New York City time, the Debtors shall deliver to the
                          Prepetition Agents and the legal and financial advisors to the the
                          Superpriority Lenders (with such advisors permitted to share with
                          the Superpriority Lenders) a variance report (each, a “Variance
                          Report”) setting forth, in reasonable detail, cumulative receipts,
                          disbursements and net cash of the Debtors and any variances
                          between the actual amounts and those set forth in the then in effect
                          Approved Budget for the Testing Period (as defined below),
                          together with an informational rolling 10-week cash flow forecast.
                          For the avoidance of doubt, for the week starting from the Petition
                          Date through the last day of such week, the Debtors shall deliver
                          the Variance Report by April 12, 2024, at 5:00 p.m. New York City
                          time. The Variance Report shall also provide a reasonably detailed
                          explanation for any variance on a cumulative basis.

                          Budget Testing. The term “Testing Period” shall mean, with
                          respect to any Variance Report (as defined below) required to be
                          delivered, starting with the report to be delivered on April 12, 2024,
                          the period starting from the Petition Date through the last day of the
                          prior week. The Debtors shall not permit the aggregate cumulative
                          actual (i) “total receipts” for any Testing Period to be less than the
                          projected “total receipts” by more than $1,000,000; (ii) “total
                          disbursements” (excluding the fees and expenses of Retained
                          Professionals and counsel and other advisors to the Prepetition
                          Secured Parties) for any Testing Period to exceed the projected

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                     Local Rule 4001-2 Concise Statements                                       Location
                      “total disbursements” by more than $1,250,000; (iii) “total
                      disbursements” (excluding the fees and expenses of counsel and
                      other advisors to the Prepetition Secured Parties) for any Testing
                      Period to exceed the projected “total disbursements” by more than
                      $2,000,000; or (iv) “net cash flow” (excluding fees and expenses of
                      counsel and other advisors to the Prepetition Secured Parties) for
                      any Testing Period to be less than the projected “net cash flow” by
                      more than $1,000,000 (such permitted variances, the “Permitted
                      Variance” and such limitations, the “Variance Covenant”).

                      Accounts Payable Reports. The Debtors shall deliver to the legal
                      and financial advisors, as applicable, to the Prepetition Agents and
                      the Superpriority Lenders on or before 5:00 p.m. (prevailing
                      Eastern Time) on Friday of each week (commencing on the Friday
                      of the first full calendar week following the entry of this Interim
                      Order) an accounts payable report providing the current estimate of
                      the Debtors’ accrued and unpaid accounts payable, each of which
                      shall be prepared by the financial advisors to the Debtors as of the
                      last day of the prior week or other period then most recently ended

                      Except as otherwise agreed to by the Superpriority Agents, acting
                      at the direction of the Required Consenting Term Loan Lenders, or
                      as expressly permitted herein, the Debtors’ use of the Cash
                      Collateral shall be permitted solely pursuant to the terms of, and in
                      accordance with, the Approved Budget, subject to Permitted
                      Variances. The Prepetition Secured Parties (i) may assume that the
                      Debtors will comply with the Approved Budget, (ii) shall have no
                      duty to monitor such compliance and (iii) shall not be directly or
                      indirectly obligated to pay any unpaid expenses incurred or
                      authorized to be incurred pursuant to any Approved Budget.
                      Nothing in any Approved Budget shall constitute an amendment or
                      other modification of the Prepetition Credit Documents or the
                      lending limits set forth therein. The consent of the Prepetition
                      Secured Parties to the use of Cash Collateral pursuant to this
                      Interim Order shall not be construed as consent to the use of Cash
                      Collateral after the occurrence of an Event of Default (other than
                      funding the Carve-Out as set forth herein), regardless of whether
                      the aggregate funds shown on the Approved Budget have been
                      expended.
Carve Out             Notwithstanding anything to the contrary herein, the Debtors’            ¶4
                      obligations to the Prepetition Secured Parties, and the liens,
Local Rule            security interests and superpriority claims granted by this Interim
4001–2(a)(i)(F)       Order or under the Prepetition Credit Documents, and the payment
                      of all such obligations, shall be subject and subordinate in all
                      respects to payment of the following fees and expenses: (i) all
                      unpaid fees required to be paid to the Clerk of the Court or statutory
                      fees payable to the U.S. Trustee under 28 U.S.C. § 1930, with
                      interest at the statutory rate pursuant to 31 U.S.C. § 3717 (the
                      “Government Fees”), which shall not be limited by any Budget; (ii)
                      all reasonable fees and expenses up to $25,000 incurred by a trustee
                      under Bankruptcy Code section 726(b) (the “Chapter 7 Expenses”),
                      (iii) to the extent allowed at any time (whether by interim order,
                      final order, procedural order or otherwise), all unpaid fees and
                      expenses (collectively, the “Professional Fees”) incurred by
                      persons       or      firms    retained      by      the      Debtors

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        Local Rule 4001-2 Concise Statements                                      Location
         (the “Debtor Professionals”) or any official committee of
         unsecured creditors appointed in the chapter 11 cases
         (a “Committee” and such professionals to the Committee,
         the “Committee Professionals” and together with the Debtor
         Professionals, the “Retained Professionals”) pursuant to
         Bankruptcy Code section 327, 328, 363 or 1103, as applicable, at
         any time before or on the first business day following delivery of a
         Trigger Notice (defined below) and without regard to whether such
         fees and expenses are provided for in any Approved Budget or were
         invoiced after the Carve-Out Trigger Notice Date, whether allowed
         by the Court prior to or after delivery of the Trigger Notice
         (the “Pre-Trigger Fees” and such amounts, the “Pre-Trigger Fee
         Cap”); and (iv) the Professional Fees of (x) Debtor Professionals in
         an aggregate amount not to exceed $750,000 (the “Debtor Post-
         Trigger Cap”) and (y) Committee Professionals in an aggregate
         amount not to exceed $250,000 (the “Committee Post-Trigger Fee
         Cap” and, together with the Debtor Post-Trigger Cap, the “Post-
         Trigger Fee Cap” and, together with the Pre-Trigger Fee Cap, the
         “Carve-Out Cap”) incurred after the first business day following
         delivery of a Trigger Notice (as defined herein) (the “Post-Trigger
         Fees”). Any payment or reimbursement made to any Retained
         Professionals on or after the delivery of the Trigger Notice shall
         permanently reduce the Carve-Out on a dollar-for-dollar basis (the
         foregoing clauses (i) through (iv), collectively, the “Carve-Out”).

         Trigger Notice. Trigger Notice. For purposes of the Carve-Out, a
         “Trigger Notice” is a written notice delivered by the Superpriority
         Administrative Agent (acting at the direction of the Required
         Consenting Term Loan Lenders) by email through counsel to (i) the
         Debtors, (ii) any statutory committee appointed in these chapter 11
         cases, (iii) any chapter 11 trustee, chapter 7 trustee or examiner
         appointed in these cases or subsequent chapter 7 cases, and (iv) the
         U.S. Trustee (collectively, the “Carve-Out Notice Parties”), in each
         case following the occurrence and during the continuation of a
         Termination Event (as defined below), subject to any applicable
         grace period, waiver or forbearance, stating that the Post-Trigger
         Fee Cap has been invoked. The term “Carve-Out Trigger Notice
         Date” shall mean the day on which a Trigger Notice is received by
         the Debtors. On the Carve-Out Trigger Notice Date, the Trigger
         Notice shall constitute a demand to the Debtors to transfer cash in
         an amount equal to the Carve-Out Cap less any amount then held
         in the Carve-Out Account (as defined below).

         Carve-Out Account. Within three (3) business days of entry of this
         Order, the Debtors shall fund into a segregated account (the “Carve-
         Out Account”) not subject to the control of the Prepetition Agents
         or any of the Prepetition Secured Parties an amount equal to the
         total budgeted Retained Professional fees for the first week set forth
         in the Approved Budget. Thereafter, the Debtors shall transfer into
         the Carve-Out Account cash on a weekly basis in an amount equal
         to the total budgeted Retained Professional fees for that week set
         forth in the Approved Budget, plus or minus the difference between
         the actual fees and expenses incurred by Retained Professionals
         during the immediately preceding week and such budgeted amount.
         The Debtors shall use such funds held in the Carve-Out Account to

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        Local Rule 4001-2 Concise Statements                                      Location
         pay Retained Professional fees as they become allowed and payable
         pursuant to monthly, interim or final orders from the Court;
         provided, that the Debtors’ obligations to pay the allowed fees and
         expenses of the Estate Professionals shall not be limited or deemed
         limited to funds held in the Carve-Out Account.

         Immediately following receipt of a Trigger Notice, and prior to the
         payment of any Prepetition Secured Obligations, the Debtors shall
         be required to deposit into the Carve-Out Account cash in an
         amount equal to the difference between the Carve-Out Cap and the
         balance held in the Carve-Out Account as of the Trigger Notice
         Date. Notwithstanding anything to the contrary herein, following
         delivery of a Trigger Notice, the Prepetition Secured Parties shall
         not sweep or foreclose on cash (including cash received as a result
         of the sale or disposition of any assets) of the Debtors until the
         Carve-Out Account has been fully funded as permitted above in an
         amount equal to all obligations benefiting from the Carve-Out. Any
         payment or reimbursement made to any Retained Professional in
         respect of any Professional Fees prior to the delivery of the Trigger
         Notice shall not reduce the Carve-Out.

         The amounts in the Carve-Out Account shall be available only to
         satisfy Professional Fees and other amounts included in the Carve-
         Out until such amounts are paid in full. Notwithstanding anything
         to the contrary herein, (i) the failure of the Carve-Out Account to
         satisfy in full the amount set forth in the Carve-Out shall not affect
         the priority of the Carve-Out and (ii) in no way shall the Approved
         Budget, the Carve-Out or Post-Trigger Fee Cap be construed as a
         cap or limitation on the amount of the Professional Fees due and
         payable by the Debtors or that may be allowed by the Court at any
         time (whether by interim order, final order, or otherwise). All funds
         in the Carve-Out Account shall be used first to pay all obligations
         benefitting from the Pre-Trigger Fee Cap, until paid in full, and then
         obligations benefitting from the Post-Trigger Fee Cap. Upon
         payment in full of all obligations benefitting from the Carve-Out,
         any amounts remaining in the Carve-Out Account shall revert to
         the Debtors’ estates in accordance with the priorities set forth in
         the Plan.

         Payments from the Carve-Out Account shall be subject to any terms
         and conditions of the engagement agreements and appurtenant
         orders for the employment of each Retained Professional. The
         Debtors shall be permitted to pay compensation and reimbursement
         of expenses incurred prior to the occurrence of a Termination Event
         or delivery of a Termination Notice to the extent allowed and
         payable under sections 330 and 331 of the Bankruptcy Code.

         To the extent that professional fees and expenses of the Retained
         Professionals have been incurred by the Debtors or the Committee
         at any time before or on the first business day after delivery of a
         Trigger Notice but have not yet been allowed by the Court, such
         professional fees and expenses of the Retained Professionals shall
         constitute Professional Fees benefiting from the Carve-Out upon
         their allowance by the Court, whether by interim or final
         compensation order and whether before or after delivery of the

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                          Local Rule 4001-2 Concise Statements                                         Location
                           Trigger Notice, and the Carve-Out Account shall be funded to
                           include such professional fees and expenses.

Liens on Unencumbered      None.                                                                     N/A
Assets

Local Rule
4001–2(a)(i)(G)
Milestones                 •   no later than April 3, 2024, the Debtors shall have filed the Plan,   ¶ 10(14)
                               the Disclosure Statement, the First Day Pleadings (including a
Local Rule                     motion seeking entry of the Cash Collateral Order), the
4001–2(a)(i)(H)                Solicitation Procedures Motion, the Bar Date Motion, the
                               Bidding Procedures Motion, and the Private Sale Motion;
                           • no later than April 5, 2024, the Bankruptcy Court shall have
                               entered the Interim Cash Collateral Order;
                           • no later than April 23, 2024, the Debtors shall have filed their
                               schedules of assets and liabilities and statements of financial
                               affairs;
                           • no later than April 24, 2024, the Bankruptcy Court shall have
                               entered the Private Sale Order, the Final Cash Collateral Order,
                               the Solicitation Procedures Order, and the Bar Date Order;
                           • no later than April 26, 2024, the Debtors shall have commenced
                               solicitation of votes to accept or reject the Plan;
                           • no later than May 10, 2024, the Debtors shall have filed the Plan
                               Supplement;
                           • no later than May 31, 2024, the Bankruptcy Court shall have
                               held a hearing on confirmation of the Plan and approval of any
                               Sale Transaction;
                           • no later than May 31, 2024, the Bankruptcy Court shall have
                               entered the Confirmation Order and the Sale Order approving
                               the sale of the Cable Assets; and
                           • no later than June 6, 2024, the Plan Effective Date shall have
                               occurred and the Sale Transactions shall have closed.
Prepayment Penalty          N/A                                                                      N/A

Local Rule
4001–2(a)(i)(I)
Joint Liability            N/A                                                                       N/A

Local Rule
4001–2(a)(i)(J)
Payment of Secured         N/A                                                                       N/A
Parties’ Fees Without
Review

Local Rule
4001–2(a)(i)(K)
Use of Estate Funds for    Up to $25,000 of the Prepetition Collateral, including Cash               ¶ 14
Investigations             Collateral (the “Committee Investigation Budget”), may be used by
                           a Committee appointed in the Debtors’ chapter 11 cases to
Local Rule                 investigate the claims and liens of the Prepetition Secured Parties,
4001–2(a)(i)(L)            solely with respect to the Prepetition Secured Obligations and
                           Prepetition Collateral within the Challenge Period.


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                           Local Rule 4001-2 Concise Statements                                         Location
Cross-Collateralization     N/A                                                                       N/A
and
Administrative Expense
Status

Local Rule
4001–2(a)(i)(N)
Roll Up                     N/A                                                                       N/A

Local Rule
4001–2(a)(i)(O)
Non-Consensual              N/A                                                                       N/A
Priming Liens

Local Rule
4001–2(a)(i)(P)
Binding Effect of the       The acknowledgments, stipulations, admissions, waivers and                ¶ 15
Debtors’ Stipulations on    releases contained in the Interim Order shall be binding upon the
Third Parties               Debtors, their estates, and any successor or assigns thereto. Subject
                            to the Challenge Period, the acknowledgments, stipulations,
Local Rule                  admissions, waivers and releases contained in the Interim Order
4001–2(a)(i)(Q)             shall also be binding upon all other parties in interest, including any
                            Committee, or any chapter 7 or chapter 11 trustee appointed or
                            elected for any of the Debtors (a “Trustee”),.
Challenge Period            No later than the earlier of (A) confirmation of a chapter 11 plan        ¶ 15
                            for the Debtors, (B) entry of an order under Bankruptcy Code
Local Rule                  section 363 approving the sale of all or substantially all of the
4001–2(a)(i)(Q)             Debtors’ assets, other than the sale of the Debtors’ cloud-native
                            software portfolio and radio access networks businesses and related
                            assets to Lumine Group Holdco, Inc. or (C) seventy-five (75)
                            calendar days from the entry of this Interim Order, subject to further
                            written extension (which writing may be in the form of e-mail by
                            counsel) by the Superpriority Agent (at the direction of the
                            Required Consenting Term Loan Lenders); provided that in the
                            event that, prior to the expiration of the Challenge Period, (x) any
                            of these cases is converted to a Successor Case or (y) a chapter 11
                            trustee is appointed, then, in each such case, the Challenge Period
                            shall be extended for a period of thirty (30) days solely with respect
                            to any Trustee, commencing on the occurrence of either of the
                            events described in the foregoing clauses (x) and (y); and (ii) an
                            order is entered by a court of competent jurisdiction and becomes
                            final and non-appealable in favor of the party asserting any
                            Challenge sustaining any Challenge in such duly filed adversary
                            proceeding or contested matters.
Provisions Approving all    N/A                                                                       N/A
Terms of the Loan
Agreement

Local Rule
4001–2(a)(i)(R)
Waiver/Modification of      The automatic stay shall be modified to the extent necessary to           ¶ 25
Automatic Stay              allow the Prepetition Secured Parties to provide any notices to the
                            Debtors or take any other action as contemplated by and in
Local Rule                  accordance with this Interim Order.


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                           Local Rule 4001-2 Concise Statements                                         Location
 4001–2(a)(i)(S)
 Provisions Limiting         N/A                                                                      N/A
 Arguments

 Local Rule
 4001–2(a)(i)(T)
 Liens on Avoidance          The Proposed Order grants liens on all of the Debtors’ property,         ¶6
 Actions                     including, subject to entry of a Final Order, the proceeds of property
                             recovered in respect of any of the Debtors’ avoidance actions.
 Local Rule
 4001–2(a)(i)(U)
 Section 506(c) Waiver       Subject to entry of a Final Order, the Debtors waive any right to        ¶ 20
                             surcharge any Prepetition Collateral.
 Local Rule
 4001–2(a)(i)(V)
 Section 552(b) Waiver       Subject to entry of a Final Order, the “equities of the case”            ¶ 21
                             exception under section 522(b) of the Bankruptcy Code shall not
 Local Rule                  apply to the Prepetition Secured Parties.
 4001–2(a)(i)(W)
 Marshalling Waiver          The Prepetition Secured Parties shall not be subject to the              ¶ 21
                             equitable doctrine of “marshaling” or any similar doctrine with
 Local Rule                  respect to any of the Adequate Protection Collateral, Adequate
 4001–2(a)(i)(X)             Protection Obligations, Prepetition Collateral, or the Prepetition
                             Secured Obligations.

        9.         As explained below and in the First Day Declarations, the Debtors’ use of Cash

Collateral is necessary to avoid immediate and irreparable harm; absent consensual use of Cash

Collateral, the Debtors will lose access to necessary liquidity. Based on the Company’s Cash

Collateral Budget, access to Cash Collateral is necessary to maintain operations in the ordinary

course and ensure the viability of the Company without significant deterioration to the detriment

of all stakeholders.

        10.        The Debtors have determined, in an exercise of their business judgment and

following good-faith, arms’-length negotiations, that the Prepetition Lenders would only consent

to the Debtors’ use of Cash Collateral if the Proposed Order included the foregoing provisions.

Accordingly, the Debtors submit that the terms and conditions of the Proposed Order are

appropriate under the facts and circumstances of the Chapter 11 Cases.




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                       DEBTORS’ PREPETITION CAPITAL STRUCTURE

          11.    The Debtors’ outstanding funded indebtedness is comprised of obligations incurred

by the Debtors under (i) the Superpriority Term Loan and (ii) the Stub Term Loan (each as defined

herein). As summarized in the following chart, as of the Petition Date, the Debtors’ capital

structure includes approximately $183.04 million in outstanding prepetition secured debt

obligations in the aggregate:

                         Debt Facility                                Principal Amount Outstanding
                    Superpriority Term Loan                                   $180.98 million
                       Stub Term Loan                                          $2.06 million
                             Total                                           $183.04 million

          I. Superpriority Term Loan.

          12.    The Debtors are party to a certain Superpriority Credit Agreement, dated as of

June 15, 2023 (as amended, amended and restated, or otherwise modified from time in accordance

with the terms thereof, the “Superpriority Credit Agreement”) by and among Casa Systems, Inc.

(“Casa”), as borrower, the lenders from time to time party thereto (the “Superpriority Lenders”),

Delaware Trust Company, as successor to JPMorgan Chase Bank, N.A. as administrative agent,

and Delaware Trust Company as collateral agent (in such capacities, the “Superpriority Agent”

and, together with the Superpriority Lenders, the “Superpriority Secured Parties). Pursuant to the

Superpriority Credit Agreement and the Exchange (as described in further detail in the First Day

Declarations), the Superpriority Lenders agreed to the extension of approximately $218.8 million

in term loans (the “Superpriority Term Loan”), which are scheduled to mature on December 20,

2027 5.




5
 The maturity date is subject to certain springing maturity terms as set forth in the Superpriority Credit Agreement.
Failure to meet certain covenants in the Superpriority Credit Agreement would cause the maturity date to be
December 20, 2025.

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       13.      As of the Petition Date, the Debtors owe approximately $180.98 million under the

Superpriority Credit Agreement. Subject to the terms of the Intercreditor Agreement (as defined

below), the obligations under the Superpriority Credit Agreement are guaranteed by Debtors: Casa

Systems Securities Corporation and Casa Properties LLC, as well as by non-Debtor subsidiaries:

Casa Communications Limited, Casa Technologies Pty Ltd, Casa Communications Holdings Pty

Ltd, NetComm Wireless Pty Ltd, and NetComm Wireless Inc. (collectively, the “Superpriority

Guarantors”).    The obligations under the Superpriority Credit Agreement are secured by

substantially all of the assets of Casa and the Superpriority Guarantors.

II.    Stub Term Loan.

       14.      The Debtors are party to a certain Credit Agreement, dated as of December 16,

2016, by and among Casa, as borrower, the lenders from time to time party thereto (the “Original

Credit Agreement Lenders”), and Delaware Trust Company, as administrative agent and collateral

agent (in such capacities, the “Stub Agent” and together with the Superpriority Agent,

the “Prepetition Agents”) (as amended, amended and restated, or otherwise supplemented from

time to time, the “Stub Credit Agreement”). Pursuant to the Stub Credit Agreement, after

effectuation of the Exchange (as described in further detail in the First Day Declarations),

approximately $5 million in principal remained outstanding and owing to certain non-exchanging

Original Credit Agreement Lenders (the “Stub Lenders” and together with the Superpriority

Lenders, the “Prepetition Lenders” and the Stub Lenders, together with the Stub Agent, the “Stub

Secured Parties” and the Stub Secured Parties with the Superpriority Secured Parties,

the “Prepetition Secured Parties”).

       15.      As of the Petition Date, the Debtors owe approximately $2.06 million under the

Original Credit Agreement, which is scheduled to mature on September 30, 2024. Subject to the

terms of the Intercreditor Agreement (as defined below), the obligations under the Stub Credit
                                                 16
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Agreement are secured by substantially all of the assets of Casa.           The liens securing the

Superpriority Credit Agreement and the Stub Credit Agreement on the Shared Collateral (as

defined below) rank pari passu with each other and are each subject to the Intercreditor Agreement.

III.   The Intercreditor Agreement.

       16.     Certain obligations under the Superpriority Credit Agreement and the Stub Credit

Agreement (together, the “Pari Passu Obligations”) are secured by the same prepetition collateral,

i.e., substantially all of the assets of Casa (the “Shared Collateral”). Pursuant to the terms of that

certain Pari Passu Intercreditor Agreement, dated as of January 12, 2024 (the “Intercreditor

Agreement”) by and among Casa, Casa Properties, LLC, Casa Systems Securities Corporation,

NetComm Wireless, Inc., and Casa Communications Limited, as Grantors (the “Grantors”) and

the Prepetition Agents, the liens granted on the Shared Collateral rank pari passu with each other.

Additionally, pursuant to the terms of the Intercreditor Agreement, the Stub Secured Parties (other

than the Prepetition Secured Parties) agreed that they would not raise an objection to the use of

cash collateral under section 363 of the Bankruptcy Code or any liens on any collateral securing

the same unless the Superpriority Agent opposes or objects to such use of cash collateral, subject

to certain limitations in the Intercreditor Agreement.

                  DEBTORS’ PROPOSED USE OF CASH COLLATERAL

       17.     “Cash Collateral” constitutes: all cash held in any Bank Account (as defined in the

Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Continue

to Operate Their Cash Management System, (B) Honor Certain Prepetition Obligations Related

Thereto, (C) Maintain Existing Business Forms, and (D) Perform Intercompany Transactions and

(II) Granting Related Relief [ECF. 16] (the “Cash Management Motion”)) other than collateral

held by the Debtors in the Collateral Accounts (as defined in the Cash Management Motion), which



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hold restricted collateral pursuant to standby letters of credit for customer contracts with Claro

Colombia and Telecom Italia, and for the leases for the Debtors’ leased properties.

        18.     Beginning in March 2024, the Debtors and the Prepetition Lenders engaged in

extensive arms’-length negotiations regarding the terms and conditions of consensual use of Cash

Collateral, culminating in the Proposed Order. Following negotiations, the Debtors and the

Prepetition Agents have agreed upon a 11-week forecast set forth in the Cash Collateral Budget

which includes all reasonable and foreseeable expenses to be incurred by the Debtors for the

applicable period. As of the Petition Date, the Debtors had approximately $4.2 million of

unrestricted cash on hand. Without immediate access to the Cash Collateral, the Debtors would

be forced to shutter operations and dismiss these chapter 11 cases, damaging the Debtors’

prospects as a going concern and denying creditors with the right to fair and impartial distribution

of the Debtors’ assets in accordance with the principles of bankruptcy law. Any delay in the

Debtors’ ability to access Cash Collateral beyond such date would irreparably harm the Debtors

and their estates. Accordingly, the Debtors respectfully request that the Court authorize the use of

Cash Collateral on the terms and conditions set forth in the Proposed Order.

                               BASIS FOR RELIEF REQUESTED

I.      Use of Cash Collateral is Warranted and Should be Approved.

        19.     Section 363(c) of the Bankruptcy Code governs a debtor’s use of a secured

creditor’s cash collateral. Section 363(c) provides, in pertinent part, that, a debtor may use cash

collateral if “(A) each entity that has an interest in such cash collateral consents; or (B) the court,

after notice and a hearing, authorizes such use, sale, or lease in accordance with the provisions of

[section 363].” 11 U.S.C. § 363(c)(2). Section 363(e) of the Bankruptcy Code further provides

that “on request of an entity that has an interest in property . . . proposed to be used, sold or leased,



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by the trustee, the court . . . shall prohibit or condition such use, sale or lease as is necessary to

provide adequate protection of such interest.” 11 U.S.C. § 363(e).

         20.    The Bankruptcy Code does not expressly define “adequate protection.” Section 361

of the Bankruptcy Code, however, provides a non-exhaustive list of examples of adequate

protection, such as granting replacement liens and administrative priority claims.     See 11 U.S.C.

§ 361.     Generally, courts decide what constitutes adequate protection on a case-by-case basis.

See Resolution Trust Corp. v. Swedeland Dev. Group, Inc. (In re Swedeland Dev. Group, Inc.), 16

F.3d 552, 564 (3d Cir. 1994) (“[A] determination of whether there is adequate protection is made

on a case by case basis.”); In re N.J. Affordable Homes Corp., No. 05-60442 (DHS), 2006 WL

2128624, at *14 (Bankr. D.N.J. June 29, 2006) (“The term ‘adequate protection’ is intended to be

a flexible concept.”); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2

(Bankr. D. Del. Feb. 18, 1992) (emphasizing that “the varying analyses and results contained in the

. . . slew of cases demonstrate that what interest is entitled to adequate protection and what

constitutes adequate protection must be decided on a case-by-case basis”); see also In re Dynaco

Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (citing 2 Collier on Bankruptcy ¶ 361.01 [1] at

361-66 (15th ed. 1993) (explaining that adequate protection can take many forms and “must be

determined based upon equitable considerations arising from the particular facts of each

proceeding”).

         21.    In Swedeland, the Third Circuit pointedly noted that the purpose of adequate

protection “is to insure that the creditor receives the value for which he bargained prebankruptcy.”

In re Swedeland, 16 F.3d at 564 (quoting In re O’Connor, 808 F.2d 1393, 1396 (10th Cir. 1987));

see also Shaw Indus., Inc. v. First Nat’l Bank of Pa. (In re Shaw Indus., Inc.), 300 B.R. 861, 865

(Bankr. W.D. Pa. 2003) (“The purpose of providing ‘adequate protection’ is to insure that a secured



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creditor receives in value essentially what he bargained for.”); In re Beker Indus. Corp., 58 B.R.

725, 736 (Bankr. S.D.N.Y. 1986) (noting that the application of adequate protection “is left to the

vagaries of each case, but its focus is protection of the secured creditor from diminution in the

value of its collateral during the reorganization process”) (citation omitted), rev’d on other

grounds, 89 B.R. 336 (S.D.N.Y. 1988).

       22.     The Debtors have satisfied the requirements of sections 363(c)(2) and (e) of the

Bankruptcy Code and should be authorized to use Cash Collateral.              As described above,

the Debtors are providing the Prepetition Lenders with adequate protection in the form of, among

other things: superpriority adequate protection liens, administrative expense claims, payment of

professional fees, and certain covenants.

       23.     Without access to Cash Collateral, the Debtors will be unable to continue

operations, unable to fund these chapter 11 cases, and unable to preserve the going-concern value of

the Debtors’ estates. In view of the fact that Cash Collateral is essential to ongoing operations and

that the requisite percentage of Prepetition Secured Parties under the Prepetition Credit Documents

have consented to the Debtors’ limited use of Cash Collateral as provided in the Proposed Order,

the Court should grant the Debtors the authority to use Cash Collateral under section 363(c)(2) of

the Bankruptcy Code.

       24.     The Debtors believe the adequate protection provided for in the Proposed Order is

fair and reasonable under the circumstances, satisfies the requirements of sections 363(c)(2) and

363(e) of the Bankruptcy Code, and is in the best interests of the Debtors, their estates, and all

parties in interest and should be approved.

II.    Proposed Carve-Out is Reasonable and Appropriate.

       25.     Any security interests or claims granted as Adequate Protection under the Proposed

Order are subject to the Carve Out. Without the Carve Out, the Debtors and other parties in interest
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may be deprived of certain rights and powers because the services for which such professionals

may be paid in these Chapter 11 Cases may be restricted. See, e.g., In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (observing that courts insist on carve-outs for

professionals representing parties in interest because “[a]bsent such protection, the collective

rights and expectations of all parties in interest are sorely prejudiced”). The Carve Out does not

directly or indirectly deprive the Debtors’ estates or other parties in interest of possible rights and

powers. Additionally, the Carve Out protects against administrative insolvency during the course

of these Chapter 11 Cases by ensuring that assets remain for the payment of fees of the Clerk of

the Bankruptcy Court or the Office of the United States Trustee for the District of Delaware as

well as fees of the Debtors’ professionals and a statutory committee of unsecured creditors,

if appointed.

III.   Automatic Stay Should be Modified on a Limited Basis.

       26.       The relief requested herein contemplates a modification of the automatic stay to

permit the Debtors to grant the liens described above to the Prepetition Agents and to perform such

acts as may be requested to assure the perfection and priority of such liens. Stay modifications of

this kind are ordinary and standard features for the use of Cash Collateral, and in the Debtors’

business judgment, are reasonable and fair under the present circumstances.

                   BANKRUPTCY RULE 4001(a)(3) SHOULD BE WAIVED

       27.       The Debtors request a waiver of the stay of the effectiveness of the order approving

this Motion under Bankruptcy Rule 4001(a)(3). Bankruptcy Rule 4001(a)(3) provides, “[a]n order

granting a motion for relief from an automatic stay made in accordance with Rule 4001(a)(1) is

stayed until the expiration of 14 days after entry of the order, unless the court orders otherwise.”

As explained above and in the First Day Declarations, the use of Cash Collateral is essential to

prevent irreparable damage to the Debtors’ operations. Accordingly, ample cause exists to justify
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the waiver of the 14-day stay imposed by Bankruptcy Rule 4001(a)(3), to the extent such

stay applies.

        THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

       28.       The Debtors assert that immediate relief is necessary to avoid immediate and

irreparable harm. Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days

after the commencement of a chapter 11 case “to the extent that relief is necessary to avoid

immediate and irreparable harm.” For the reasons discussed above, entry of the Proposed Order

is integral to the Debtors’ ability to successfully transition into chapter 11 and run an orderly sale

process. Specifically, the relief requested is necessary to avoid a severe disruption of the Debtors’

sale process and operations at this critical juncture and, in turn, to preserve and maximize the value

of the Debtors’ estates for the benefit of all stakeholders. Accordingly, the Debtors submit that

they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 and,

therefore, respectfully requests that the Court approve the relief requested in this Motion.

                   REQUEST FOR BANKRUPTCY RULE 6004 WAIVERS

       29.       The Debtors request a waiver of any applicable notice requirements under

Bankruptcy Rule 6004(a) and any stay of the order granting the relief requested herein pursuant to

Bankruptcy Rule 6004(h). As explained above and in the First Day Declarations, the relief

requested herein is necessary to avoid immediate and irreparable harm to the Debtors’ ongoing

operations and value-maximization process. Accordingly, ample cause exists to justify the waiver

of the notice requirements under Bankruptcy Rule 6004(a) and the 14-day stay imposed by

Bankruptcy Rule 6004(h), to the extent such notice requirements and such stay apply.

                                 RESERVATION OF RIGHTS

       30.       Nothing contained herein or any action taken pursuant to relief requested is

intended to be or shall be construed as (a) an admission as to the validity of any claim against the
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Debtors; (b) a waiver of the Debtors’ or any party in interest’s rights to dispute the amount of,

basis for, or validity of any claim or interest under applicable law or nonbankruptcy law; (c) a

promise or requirement to pay any claim; (d) a waiver of the Debtors’ or any other party in

interest’s rights under the Bankruptcy Code or any other applicable law; (e) a request for or

granting of approval for assumption of any agreement, contract, program, policy, or lease under

section 365 of the Bankruptcy Code; or (f) an admission as to the validity, priority, enforceability,

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates. Likewise, if the Court grants the relief sought herein, any payment made pursuant to the

Court’s order is not intended to be and should not be construed as an admission to the validity of

any claim or a waiver of the Debtors’ or any party in interest’s rights to subsequently dispute

such claim.

                                             NOTICE

       31.     Notice of this Motion has been provided by email, facsimile, or overnight courier

to: (a) the Office of the United States Trustee for the District of Delaware; (b) the holders of the

thirty (30) largest unsecured claims against the Debtors; (c) JPMorgan Chase Bank, N.A. or its

successor as administrative agent under the Superpriority Credit Agreement; (d) Delaware Trust

Company; (e) counsel to the Ad Hoc Group; (f) the United States Attorney’s Office for the District

of Delaware; (g) the Internal Revenue Service; (h) the Securities and Exchange Commission; (i)

the Federal Communications Commission; and (j) any party that has requested notice pursuant to

Bankruptcy Rule 2002. As this Motion is seeking “first day” relief, within two business days of

the hearing on this Motion, the Debtors will serve copies of this Motion and any order entered in

respect of this Motion as required by Local Rule 9013-1(m). The Debtors submit that, in light of

the nature of the relief requested, no other or further notice need be given.

                           [Remainder of page intentionally left blank.]
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        WHEREFORE, the Debtors respectfully request entry of Proposed Order, substantially in

the form attached hereto as Exhibit A, granting the relief requested herein and granting such other

relief as is just and proper.

 Dated: April 3, 2024
 Wilmington, Delaware

 /s/ Joseph M. Mulvihill
 YOUNG CONAWAY STARGATT &                           SIDLEY AUSTIN LLP
 TAYLOR, LLP                                        Stephen E. Hessler (pro hac vice pending)
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                       Exhibit A

                Proposed Interim Order
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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                         Chapter 11

 CASA SYSTEMS, INC., et al., 1                                  Case No. 24-10695 (KBO)

                            Debtors.                            (Jointly Administered)


   INTERIM ORDER (I) AUTHORIZING LIMITED USE OF CASH COLLATERAL;
     (II) GRANTING ADEQUATE PROTECTION LIENS AND SUPERPRIORITY
   ADMINISTRATIVE EXPENSE CLAIMS TO PREPETITION SECURED PARTIES;
           (III) MODIFYING THE AUTOMATIC STAY; (IV) SCHEDULING
              FINAL HEARING; AND (V) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”) of Casa Systems, Inc., and its debtor affiliates, as debtors

and debtors in possession (collectively, the “Debtors”) pursuant to sections 105, 361, 362, 363,

503, 506 and 507 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

Rules 2002, 4001, 6003 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rules 2002-1, 4001-2 and 9013 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

seeking, among other things: (i) authorization for the Debtors to (a) use Cash Collateral (as defined

below) and (b) provide adequate protection to the Prepetition Secured Parties on account of any

Diminution in Value in the Prepetition Collateral (each, as defined below); (ii) modifying the

automatic stay imposed by Bankruptcy Code section 362 to the extent necessary to implement and

effectuate the terms of this Interim Order and the Final Order; (iii) waiving any applicable stay

and providing for immediate effectiveness of the Interim Order and Final Order; and



1
  The Debtors in these chapter 11 cases, together with the last four digits of the Debtors’ federal tax identification
number, are Casa Systems, Inc. (8867), Casa Systems Securities Corporation (1151), and Casa Properties LLC
(6767). The Debtors’ service address is 100 Old River Road, Andover, MA 01810.
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(iv) scheduling a final hearing to consider the relief requested in the Motion on a final basis and

entry of the Final Order and approving the form of notice with respect thereto; and upon

consideration of the relief requested in the Motion, the First Day Declarations and the evidence

submitted and arguments of counsel made at the initial hearing on the Motion on April [__], 2024

(the “Interim Hearing”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§ 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this matter being a core proceeding within

the meaning of 28 U.S.C. § 157(b)(2); and the Court being able to issue a final order consistent

with Article III of the United States Constitution; and venue of this proceeding and the Motion in

this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice having

been given in accordance with Bankruptcy Rules 2002, 4001(b) and (d), and 9014 and all

applicable Local Rules; and the Initial Hearing to consider the relief requested in the Motion

having been held and concluded; and it appearing that approval of the relief granted by this Interim

Order is necessary to avoid immediate and irreparable harm to the Debtors and their estates

pending the hearing on the relief granted herein on a final basis (the “Final Hearing”; and the relief

granted hereby otherwise being fair and reasonable and in the best interests of the Debtors, their

estates, and all parties in interest, and essential for the continued operation of the Debtors’

businesses and the preservation of the value of the Debtors’ assets; and after due deliberation and

consideration, and good and sufficient cause appearing therefor, THE COURT MAKES THE

FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF LAW: 2




2
  The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law pursuant
to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that
any of the following findings of fact constitute conclusions of law, they are adopted as such.

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       A.      Petition Date. On April 3, 2024 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code with this Court.

       B.      Debtors in Possession. The Debtors continue to administer their business and

manage their properties as debtors in possession pursuant to Bankruptcy Code sections 1107 and

1108. As of the date hereof, no trustee, examiner or official committee of unsecured creditors has

been appointed in these chapter 11 cases.

       C.      Jurisdiction and Venue. The Court has jurisdiction over the chapter 11 cases and

the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This Court’s consideration of the matters covered by this

Interim Order constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). This Court may

enter a final order consistent with Article III of the United States Constitution. Venue for these

chapter 11 cases and the proceedings on the Motion is proper in this district pursuant to 28 U.S.C.

§§ 1408 and 1409.

       D.      Notice. Notice of the Motion and the Interim Hearing and the relief requested in

the Motion and granted in this Interim Order has been provided by the Debtors in accordance with

Bankruptcy Rules 2002, 4001 and 9014 and Local Rule 4001-2. Except as set forth herein with

respect to the Final Hearing and the Final Order, no further notice of, or hearing on, the relief

requested in the Motion is necessary or required. The Debtors have represented that notice of the

Interim Hearing and the relief requested in the Motion has been provided by the Debtors, whether

by facsimile, electronic mail, overnight courier or hand delivery, to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the holders of the thirty (30) largest unsecured

claims against the Debtors; (c) Delaware Trust Company, as administrative and collateral agent


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under the Superpriority Credit Agreement; (d) Delaware Trust Company, as administrative and

collateral agent under the Stub Credit Agreement; (e) counsel to the Ad Hoc Group; (f) the United

States Attorney’s Office for the District of Delaware; (g) the Internal Revenue Service; (h) the

Securities and Exchange Commission; (i) the Federal Communications Commission; (j) Trade

Claimants; and (k) any party that has requested notice pursuant to Bankruptcy Rule 2002.

       E.     Debtors’ Stipulations. Subject to the limitations contained in Paragraphs 14 and 15

of this Interim Order, the Debtors, on their own behalf and on behalf of their estates, shall be

deemed to admit, stipulate, acknowledge and agree as follows:

              (i)     Superpriority Term Loan Facility.

                      (1)    Superpriority Term Loan Facility.        Pursuant to that certain

Superpriority Credit Agreement, dated as of June 15, 2023 (as amended, restated, amended and

restated, supplemented or otherwise modified from time to time, the “Superpriority Credit

Agreement” and, together with all related security agreements, collateral agreements, pledge

agreements, control agreements and guarantees, the “Superpriority Credit Documents”), among

Casa Systems, Inc. (“Casa”), as the borrower, Delaware Trust Company, as administrative agent

(and any of its successors and assigns) (in such capacity, the “Superpriority Administrative

Agent”), Delaware Trust Company, as collateral agent (in such capacity, the “Superpriority

Collateral Agent” and, together with the Superpriority Administrative Agent, the “Superpriority

Agents”), and the lenders party thereto from time to time (the “Superpriority Lenders” and,

together with the Superpriority Agents, the “Superpriority Secured Parties”), the Superpriority

Lenders provided to Casa secured term loans (the “Superpriority Term Loans”) in an initial

aggregate principal amount of $218,848,371.05 (the “Superpriority Term Loan Facility”).




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                       (2)     Guarantee Obligations. Casa’s obligations under the Superpriority

Term Loan Facility are guaranteed by each of the other Debtors and Casa’s non-Debtor

subsidiaries (other than certain Excluded Subsidiaries (as defined in the Superpriority Credit

Documents)) pursuant to the Superpriority Credit Documents.

                       (3)     Prepetition Superpriority Obligations. As of the Petition Date,

pursuant to the Superpriority Credit Documents, the Debtors were jointly and severally indebted

and liable, without defense, counterclaim, or offset of any kind, to the Superpriority Secured

Parties, in the aggregate amount of not less than $180,972,634.01 on account of the Superpriority

Term Loans, plus accrued interest, plus all other fees, costs, expenses, indemnification obligations,

reimbursement obligations, charges, premiums, additional interest, any other Obligations (as

defined in the Superpriority Credit Agreement), and all other obligations of whatever nature owing,

whether or not contingent, whenever arising, accrued, accruing, due, owing or chargeable under

the Superpriority Credit Documents (collectively, the “Prepetition Superpriority Obligations”).

The Prepetition Superpriority Obligations constitute legal, valid, binding and non-avoidable

obligations against the Debtors and are not subject to avoidance, recharacterization, counterclaim,

defense, offset, recoupment, subordination, other claim, cause of action, or other challenge of any

kind under the Bankruptcy Code, under applicable non-bankruptcy law or otherwise. No payments

or transfers made to or for the benefit of (or obligations incurred to or for the benefit of) the

Superpriority Secured Parties by or on behalf of any of the Debtors prior to the Petition Date under

or in connection with the Superpriority Term Loan Facility shall be subject to avoidance,

recharacterization, counterclaim, defense, offset, subordination, other claim, cause of action or

other challenge of any kind or nature under the Bankruptcy Code, under applicable non-bankruptcy

law or otherwise.


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                       (4)     Prepetition Superpriority Liens.        As of the Petition Date, the

Prepetition Superpriority Obligations were secured by valid, binding, non-avoidable, properly

perfected and enforceable liens on and security interests (the “Prepetition Superpriority Liens”) in

the Collateral (as defined in the Superpriority Credit Documents, the “Superpriority Collateral”).

The Prepetition Superpriority Liens (a) were granted to, or for the benefit of, the Superpriority

Secured Parties for fair consideration and reasonably equivalent value; (b) are equal in priority to

the Prepetition Stub Liens (as defined below) on the Prepetition Stub Collateral (as defined below);

and (c) are senior in priority to any and all other liens on the Prepetition Collateral, except for the

senior liens permitted by the Superpriority Credit Documents and solely to the extent such senior

liens were valid, binding and senior to the Prepetition Superpriority Liens as of the Petition Date

or were in existence immediately prior to the Petition Date and were perfected subsequent to the

Petition Date as permitted by Bankruptcy Code section 546(b)) (the “Prepetition Superpriority

Permitted Liens”).

               (ii)    Stub Term Loan Facility.

                       (1)     Stub Term Loan Facility. Pursuant to that certain Credit Agreement,

dated as of December 20, 2016 (as amended, restated, amended and restated, supplemented or

otherwise modified from time to time, the “Stub Credit Agreement” and, together with all related

security agreements, collateral agreements, pledge agreements, control agreements and

guarantees, the “Stub Credit Documents” and, together with the Superpriority Credit Documents,

the “Prepetition Credit Documents”), among Casa, as the borrower, Delaware Trust Company, as

administrative agent and collateral agent (in such capacity, the “Stub Administrative Agent” and,

together with the Superpriority Agents, the “Prepetition Agents”), and the lenders party thereto

from time to time (the “Stub Lenders” and, together with the Stub Agents, the “Stub Secured


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Parties” and, together with the Superpriority Secured Parties, the “Prepetition Secured Parties”),

the Stub Lenders provided to Casa secured term loans (the “Stub Term Loans”) in an initial

aggregate principal amount of $325,000,000 (the “Stub Term Loan Facility” and, together with

the Superpriority Term Loan Facility, the “Prepetition Credit Facilities”).

                       (2)     Guarantee Obligations. Casa’s obligations under the Stub Term

Loan Facility are not guaranteed; provided, however, that pursuant to that certain Pari Passu

Intercreditor Agreement, dated as of January 12, 2024, by and among the Superpriority Collateral

Agent, Stub Agent, Casa, and the subsidiaries of Casa party thereto (the “Intercreditor

Agreement”), the parties agreed that (x) the Prepetition Superpriority Liens and the Prepetition

Stub Liens on the shared collateral (collectively, the “Shared Collateral” and any assets of the

Debtors not included in the Shared Collateral, the “Non-Shared Collateral”) shall be equal in

priority; and (y) notwithstanding the fact that the Stub Term Loan Facility is not guaranteed by the

subsidiaries of Casa and thus the Stub Collateral is less than the Superpriority Collateral, proceeds

from both the Stub Collateral and the Superpriority Collateral (including those attributable to the

Debtors that did not guarantee the Stub Term Loan Facility and proceeds attributable to the

Superpriority Collateral which does not constitute the Stub Collateral) shall be distributed pro rata

among the Prepetition Secured Obligations.

                       (3)     Stub Obligations. As of the Petition Date, pursuant to the Stub

Credit Documents, Casa was indebted and liable, without defense, counterclaim, or offset of any

kind, to the Stub Secured Parties, in the aggregate amount of not less than $2,063,636.93 on

account of the Stub Term Loans, plus accrued interest, plus all other fees, costs, expenses,

indemnification obligations, reimbursement obligations, charges, premiums, additional interest,

any other Obligations (as defined in the Prepetition Superpriority Credit Agreement), and all other


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obligations of whatever nature owing, whether or not contingent, whenever arising, accrued,

accruing, due, owing or chargeable under the Stub Credit Documents (collectively, the “Prepetition

Stub Obligations” and, together with the Prepetition Superpriority Obligations, the “Prepetition

Secured Obligations”). The Prepetition Stub Obligations constitute legal, valid, binding and non-

avoidable obligations against Casa and are not subject to avoidance, recharacterization,

counterclaim, defense, offset, recoupment, subordination, other claim, cause of action, or other

challenge of any kind under the Bankruptcy Code, under applicable non-bankruptcy law or

otherwise. No payments or transfers made to or for the benefit of (or obligations incurred to or for

the benefit of) the Stub Secured Parties by or on behalf of any of the Debtors prior to the Petition

Date under or in connection with the Stub Term Loan Facility shall be subject to avoidance,

recharacterization, counterclaim, defense, offset, subordination, other claim, cause of action or

other challenge of any kind or nature under the Bankruptcy Code, under applicable non-bankruptcy

law or otherwise.

                       (4)     Prepetition Stub Liens. As of the Petition Date, the Prepetition Stub

Obligations were secured by valid, binding, non-avoidable, properly perfected and enforceable

liens on and security interests in (the “Prepetition Stub Liens” and, together with the Prepetition

Superpriority Liens, the “Prepetition Liens”) the Collateral (as defined in the Stub Credit

Documents, the “Stub Collateral” and, together with the Superpriority Collateral, the “Prepetition

Collateral”). The Prepetition Stub Liens (a) were granted to, or for the benefit of, the Stub Secured

Parties for fair consideration and reasonably equivalent value; (b) equal in priority to the

Prepetition Superpriority Liens on the Prepetition Stub Collateral; and (c) are senior in priority to

any and all other liens on the Prepetition Stub Collateral, except for the senior liens solely to the

extent such senior liens were valid, binding and senior to the Prepetition Superpriority Liens as of


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the Petition Date or were in existence immediately prior to the Petition Date and were perfected

subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code)

(the “Prepetition Stub Permitted Liens” and, together with the Prepetition Superpriority Permitted

Liens, the “Prepetition Permitted Liens”).

               (iii)   No Defenses. No offsets, recoupments, challenges, objections, defenses,

claims, or counterclaims of any kind or nature to any of the Prepetition Secured Obligations or

Prepetition Liens exist, and no portion of the Prepetition Liens or Prepetition Secured Obligations

is subject to any challenge or defense, including avoidance, disallowance, disgorgement,

recharacterization, or subordination (equitable or otherwise) pursuant to the Bankruptcy Code or

applicable non-bankruptcy law.       The Debtors and their estates have no claims, objections,

challenges, causes of action, or choses in action, including claims and causes of action under

Bankruptcy Code sections 502(d), 544, 545, 547, 548, and 550, or any other avoidance actions

under the Bankruptcy Code whether pursuant to federal law or applicable state law or applicable

state law equivalents or actions for recovery or disgorgement, against any of the Prepetition Agents

and the Prepetition Secured Parties or any of their respective affiliates, agents, attorneys, advisors,

professionals, officers, directors, and employees arising out of, based upon, or related to the

Prepetition Credit Facilities and/or the transactions contemplated hereunder or thereunder; and the

Debtors waive, discharge, and release any right to challenge any of the Prepetition Secured

Obligations or Prepetition Liens.

               (iv)    Cash Collateral. All of the cash of the Debtors, including cash on deposit or

in any account held by the Debtors as of the Petition Date, as well as all cash generated by the

collection of the Debtors’ accounts receivable, and any proceeds of other disposition of any

Prepetition Collateral, constitute Prepetition Collateral and, more specifically, “Cash Collateral”


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of the applicable Prepetition Secured Parties within the meaning of Bankruptcy Code section

363(a). For the avoidance of doubt, collateral held by the Debtors in the Collateral Accounts (as

defined in the Cash Management Motion), which hold restricted collateral pursuant to standby

letters of credit for customer contracts with Claro Colombia and Telecom Italia, and for the leases

for the Debtors’ leased properties shall not be considered Cash Collateral.

               (v)     Entitlement to Adequate Protection. The Prepetition Secured Parties are

entitled, pursuant to Bankruptcy Code sections 361, 362(c)(2), 363(e), 364(d)(l) and 507, to

adequate protection of their respective interests in the applicable Prepetition Collateral, including

Cash Collateral, to the extent of any diminution in the value of their interest in the applicable

Prepetition Collateral occurring from and after the Petition Date, resulting from the sale, lease or

use of the applicable Prepetition Collateral (including applicable Cash Collateral), the imposition

of the automatic stay pursuant to Bankruptcy Code section 362, the Carve-Out, and any other

reason for which adequate protection may be granted under the Bankruptcy Code (such

diminution, a “Diminution in Value”).

               (vi)    No Control. None of the Prepetition Secured Parties control the Debtors or

their properties or operations, have authority to determine the manner in which any Debtors’

operations are conducted, or are control persons or insiders of the Debtors by virtue of any of the

actions taken with respect to, in connection with, related to or arising from this Interim Order, the

Prepetition Credit Documents, or the Prepetition Credit Facilities.

       F.      Findings Regarding the Use of Cash Collateral.

               (i)     Good and sufficient cause has been shown for the entry of this Interim Order

and for authorizing the Debtors to use Cash Collateral of the Prepetition Secured Parties and for

granting adequate protection to the Prepetition Secured Parties.


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               (ii)    The Debtors have an ongoing and immediate need to continue using Cash

Collateral to the extent provided in this Interim Order, in order to, among other things: (a) provide

working capital and funding for general corporate purposes; and (b) pay certain costs of

administration of these cases, in each case, subject to the terms hereof and solely to the extent

provided in the Approved Budget, as subject to Permitted Variances. The Debtors do not have

sufficient sources of working capital and financing to operate their businesses or maintain their

properties in the ordinary course of business in order to facilitate the sale of their assets and the

administration of these chapter 11 cases during the term this Interim Order is in effect without the

use of Cash Collateral. Absent relief granted in this Interim Order, the Debtors’ estates and their

businesses will be irreparably harmed.

               (iii)   The requisite percentage of Prepetition Secured Parties under the

Prepetition Credit Documents have consented to the Debtors’ limited use of Cash Collateral, on

the terms and conditions set forth in this Interim Order, and the terms of the adequate protection

provided in this Interim Order are fair and reasonable and provide the Debtors reasonably

equivalent value and fair consideration.

       G.      Good Faith. The terms of the Debtors’ use of Cash Collateral pursuant to this

Interim Order have been the subject of extensive negotiations conducted in good faith and at arm’s

length between the Debtors and the Prepetition Secured Parties and, pursuant to sections 105, 361

and 363 of the Bankruptcy Code, the Prepetition Secured Parties are hereby found to have acted

in good faith in connection with the negotiation and entry of this Final Order, and each is entitled

to the protection provided under Bankruptcy Code section 363(m).

       H.      Continuation of Prepetition Liens; Prepetition Permitted Liens.           Subject to

Paragraphs 14 and 15 of this Interim Order, the Prepetition Liens are continuing liens, and the


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Prepetition Collateral will continue to be encumbered by such liens.            Nothing herein shall

constitute a finding or ruling by this Court that any alleged Prepetition Permitted Lien is valid,

senior, enforceable, prior, perfected, or non-avoidable. Moreover, nothing herein shall prejudice

the right of any party in interest, including, but not limited to, any of the Debtors or the Prepetition

Secured Parties to challenge the validity, priority, enforceability, seniority, avoidability,

perfection, or extent of any alleged Prepetition Permitted Lien.

           I.     Immediate Entry. Good and sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(b)(2). The use of Cash Collateral (and the other

Prepetition Collateral), in accordance with this Interim Order, is in the best interests of the Debtors’

estates.

           Based upon the foregoing findings and conclusions and the record before this Court, and

after due consideration and good and sufficient cause appearing thereof:

           IT IS HEREBY ORDERED THAT:

           1.     Disposition. The Motion is granted on an interim basis as set forth herein. Any

objections to the relief requested in the Motion on an interim basis that have not previously been

withdrawn, waived, settled, or resolved, and all reservations of rights included therein, are hereby

denied and overruled on their merits with prejudice. The rights of all parties in interest to object

to entry of a Final Order are fully reserved.

           2.     Use of Cash Collateral. The Debtors are hereby authorized to use all Cash

Collateral solely in accordance with this Interim Order and the Approved Budget (as defined

below), as subject to Permitted Variances, including, without limitation, to make payments on

account of the Adequate Protection Obligations (as defined below) and other obligations provided

for in this Interim Order. The Debtors are enjoined and prohibited from using the Cash Collateral


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at any time except on the terms and subject to the conditions of this Interim Order, another order

of the Court, or as otherwise agreed to by the Superpriority Agents acting at the direction of the

Required Consenting Term Loan Lenders (as defined in that certain Restructuring Support

Agreement dated as of April 2, 2024, by and among the Company Parties and the Consenting Term

Loan Lenders party thereto).

       3.      Approved Budget; Compliance and Reporting.

               (a)     Attached to this Interim Order as Exhibit 1 is a 10-week cash flow forecast

for the 10-week period commencing on the Petition Date, approved by the Required Consenting

Term Loan Lenders, which reflects on a line-item basis, the Debtors’ and non-Debtor affiliates’

budgeted cash receipts, disbursements and liquidity (the “Approved Budget”). The Debtors shall

deliver an updated budget to the Prepetition Secured Parties on the Friday of every fourth week

after the Petition Date covering the 10-week period commencing on the first day (which, for the

avoidance of doubt, shall be Tuesday) of each such week, respectively (each, the “Proposed

Updated Budget” and, together with the Approved Budget, the “Budgets”) and shall deliver to the

U.S. Trustee and any statutory committee appointed in these chapter 11 cases any Approved

Budget. The Proposed Updated Budget shall constitute an Approved Budget only if such Proposed

Updated Budget is acceptable to the Required Consenting Term Loan Lenders in their sole

discretion, as set forth in writing by the Required Consenting Term Loan Lenders. Unless the

Debtors receive a written acknowledgement from the Required Consenting Term Loan Lenders

that a Proposed Updated Budget is acceptable to such lenders in their sole discretion, the then most

recent Approved Budget shall remain in full force and effect. Each Proposed Updated Budget

shall be accompanied by such supporting documentation as reasonably requested by the




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Prepetition Secured Parties. Each Budget shall be prepared in good faith based upon assumptions

believed by the advisors to the Debtors to be reasonable.

               (b)     Variance Reports. On the Friday of each calendar week following the

Petition Date and for each calendar week thereafter, by no later than 5:00 p.m. New York City

time, the Debtors shall deliver to the Prepetition Agents and the legal and financial advisors to the

the Superpriority Lenders (with such advisors permitted to share with the Superpriority Lenders)

a variance report (each, a “Variance Report”) setting forth, in reasonable detail, cumulative

receipts, disbursements and net cash of the Debtors and any variances between the actual amounts

and those set forth in the then in effect Approved Budget for the Testing Period (as defined below),

together with an informational rolling 10-week cash flow forecast. For the avoidance of doubt,

for the week starting from the Petition Date through the last day of such week, the Debtors shall

deliver the Variance Report by April 12, 2024, at 5:00 p.m. New York City time. The Variance

Report shall also provide a reasonably detailed explanation for any variance on a cumulative basis.

               (c)     Budget Testing. The term “Testing Period” shall mean, with respect to any

Variance Report (as defined below) required to be delivered, starting with the report to be delivered

on April 12, 2024, the period starting from the Petition Date through the last day of the prior week.

The Debtors shall not permit the aggregate cumulative actual (i) “total receipts” for any Testing

Period to be less than the projected “total receipts” by more than $1,000,000; (ii) “total

disbursements” (excluding the fees and expenses of Retained Professionals and counsel and other

advisors to the Prepetition Secured Parties) for any Testing Period to exceed the projected “total

disbursements” by more than $1,250,000; (iii) “total disbursements” (excluding the fees and

expenses of counsel and other advisors to the Prepetition Secured Parties) for any Testing Period

to exceed the projected “total disbursements” by more than $2,000,000; or (iv) “net cash flow”


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(excluding fees and expenses of counsel and other advisors to the Prepetition Secured Parties) for

any Testing Period to be less than the projected “net cash flow” by more than $1,000,000 (such

permitted variances, the “Permitted Variance” and such limitations, the “Variance Covenant”).

               (d)     Accounts Payable Reports. The Debtors shall deliver to the legal and

financial advisors, as applicable, to the Prepetition Agents and the Superpriority Lenders on or

before 5:00 p.m. (prevailing Eastern Time) on Friday of each week (commencing on the Friday of

the first full calendar week following the entry of this Interim Order) an accounts payable report

providing the current estimate of the Debtors’ accrued and unpaid accounts payable, each of which

shall be prepared by the financial advisors to the Debtors as of the last day of the prior week or

other period then most recently ended.

               (e)      Except as otherwise agreed to by the Superpriority Agents, acting at the

direction of the Required Consenting Term Loan Lenders, or as expressly permitted herein, the

Debtors’ use of the Cash Collateral shall be permitted solely pursuant to the terms of, and in

accordance with, the Approved Budget, subject to Permitted Variances. The Prepetition Secured

Parties (i) may assume that the Debtors will comply with the Approved Budget, (ii) shall have no

duty to monitor such compliance and (iii) shall not be directly or indirectly obligated to pay any

unpaid expenses incurred or authorized to be incurred pursuant to any Approved Budget. Nothing

in any Approved Budget shall constitute an amendment or other modification of the Prepetition

Credit Documents or the lending limits set forth therein. The consent of the Prepetition Secured

Parties to the use of Cash Collateral pursuant to this Interim Order shall not be construed as consent

to the use of Cash Collateral after the occurrence of an Event of Default (other than funding the

Carve-Out as set forth herein), regardless of whether the aggregate funds shown on the Approved

Budget have been expended.


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       4.      Carve-Out.

               (a)     Carve-Out. Notwithstanding anything to the contrary herein, the Debtors’

obligations to the Prepetition Secured Parties, and the liens, security interests and superpriority

claims granted by this Interim Order or under the Prepetition Credit Documents, and the payment

of all such obligations, shall be subject and subordinate in all respects to payment of the following

fees and expenses: (i) all unpaid fees required to be paid to the Clerk of the Court or statutory fees

payable to the U.S. Trustee under 28 U.S.C. § 1930, with interest at the statutory rate pursuant to

31 U.S.C. § 3717 (the “Government Fees”), which shall not be limited by any Budget; (ii) all

reasonable fees and expenses up to $25,000 incurred by a trustee under Bankruptcy Code section

726(b) (the “Chapter 7 Expenses”), (iii) to the extent allowed at any time (whether by interim

order, final order, procedural order or otherwise), all unpaid fees and expenses (collectively,

the “Professional    Fees”)   incurred   by    persons   or   firms    retained   by   the   Debtors

(the “Debtor Professionals”) or any official committee of unsecured creditors appointed in the

chapter 11 cases (a “Committee” and such professionals to the Committee, the “Committee

Professionals” and together with the Debtor Professionals, the “Retained Professionals”) pursuant

to Bankruptcy Code section 327, 328, 363 or 1103, as applicable, at any time before or on the first

business day following delivery of a Trigger Notice (defined below) and without regard to whether

such fees and expenses are provided for in any Approved Budget or were invoiced after the Carve-

Out Trigger Notice Date, whether allowed by the Court prior to or after delivery of the Trigger

Notice (the “Pre-Trigger Fees” and such amounts, the “Pre-Trigger Fee Cap”); and (iv) the

Professional Fees of (x) Debtor Professionals in an aggregate amount not to exceed $750,000 (the

“Debtor Post-Trigger Cap”) and (y) Committee Professionals in an aggregate amount not to exceed

$250,000 (the “Committee Post-Trigger Fee Cap” and, together with the Debtor Post-Trigger Cap,


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the “Post-Trigger Fee Cap” and, together with the Pre-Trigger Fee Cap, the “Carve-Out Cap”)

incurred after the first business day following delivery of a Trigger Notice (as defined herein)

(the “Post-Trigger Fees”). Any payment or reimbursement made to any Retained Professionals on

or after the delivery of the Trigger Notice shall permanently reduce the Carve-Out on a dollar-for-

dollar basis (the foregoing clauses (i) through (iv), collectively, the “Carve-Out”).

               (b)     Trigger Notice. For purposes of the Carve-Out, a “Trigger Notice” is a

written notice delivered by the Superpriority Administrative Agent (acting at the direction of the

Required Consenting Term Loan Lenders) by email through counsel to (i) the Debtors, (ii) any

statutory committee appointed in these chapter 11 cases, (iii) any chapter 11 trustee, chapter 7

trustee or examiner appointed in these cases or subsequent chapter 7 cases, and (iv) the U.S.

Trustee (collectively, the “Carve-Out Notice Parties”), in each case following the occurrence and

during the continuation of a Termination Event (as defined below), subject to any applicable grace

period, waiver or forbearance, stating that the Post-Trigger Fee Cap has been invoked. The

term “Carve-Out Trigger Notice Date” shall mean the day on which a Trigger Notice is received

by the Debtors. On the Carve-Out Trigger Notice Date, the Trigger Notice shall constitute a

demand to the Debtors to transfer cash in an amount equal to the Carve-Out Cap less any amount

then held in the Carve-Out Account (as defined in paragraph 4(c) below).

               (c)     Carve-Out Account. Within three (3) business days of entry of this Order,

the Debtors shall fund into a segregated account (the “Carve-Out Account”) not subject to the

control of the Prepetition Agent or any of the Prepetition Secured Parties an amount equal to the

total budgeted Retained Professional fees for the first week set forth in the Approved Budget.

Thereafter, the Debtors shall transfer into the Carve-Out Account cash on a weekly basis in an

amount equal to the total budgeted Retained Professional fees for that week set forth in the


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Approved Budget, plus or minus the difference between the actual fees and expenses incurred by

Retained Professionals during the immediately preceding week and such budgeted amount. The

Debtors shall use such funds held in the Carve-Out Account to pay Retained Professional fees as

they become allowed and payable pursuant to monthly, interim or final orders from the Court;

provided, that the Debtors’ obligations to pay the allowed fees and expenses of the Retained

Professionals shall not be limited or deemed limited to funds held in the Carve-Out Account.

               (d)     Immediately following receipt of a Trigger Notice, and prior to the payment

of any Prepetition Secured Obligations, the Debtors shall be required to deposit into the Carve-

Out Account cash in an amount equal to the difference between the Carve-Out Cap and the balance

held in the Carve-Out Account as of the Trigger Notice Date. Notwithstanding anything to the

contrary herein, following delivery of a Trigger Notice, the Prepetition Secured Parties shall not

sweep or foreclose on cash (including cash received as a result of the sale or disposition of any

assets) of the Debtors until the Carve-Out Account has been fully funded as permitted above in an

amount equal to all obligations benefiting from the Carve-Out. Any payment or reimbursement

made to any Retained Professional in respect of any Professional Fees prior to the delivery of the

Trigger Notice shall not reduce the Carve-Out.

               (e)     The amounts in the Carve-Out Account shall be available only to satisfy

Professional Fees and other amounts included in the Carve-Out until such amounts are paid in full.

Notwithstanding anything to the contrary herein, (i) the failure of the Carve-Out Account to satisfy

in full the amount set forth in the Carve-Out shall not affect the priority of the Carve-Out and (ii)

in no way shall the Approved Budget, the Carve-Out or Post-Trigger Fee Cap be construed as a

cap or limitation on the amount of the Professional Fees due and payable by the Debtors or that

may be allowed by the Court at any time (whether by interim order, final order, or otherwise). All


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funds in the Carve-Out Account shall be used first to pay all obligations benefitting from the Pre-

Trigger Fee Cap, until paid in full, and then obligations benefitting from the Post-Trigger Fee Cap.

Upon payment in full of all obligations benefitting from the Carve-Out, any amounts remaining in

the Carve-Out Account shall revert to the Debtors’ estates and constitute Cash Collateral of the

Prepetition Secured Parties to be distributed in accordance with the priorities set forth in the Plan.

               (f)     Payments from the Carve-Out Account shall be subject to any terms and

conditions of the engagement agreements and appurtenant orders for the employment of each

Retained Professional. The Debtors shall be permitted to pay compensation and reimbursement

of expenses incurred prior to the occurrence of a Termination Event or delivery of a Termination

Notice to the extent allowed and payable under sections 330 and 331 of the Bankruptcy Code.

               (g)     To the extent that professional fees and expenses of the Retained

Professionals have been incurred by the Debtors or the Committee at any time before or on the

first business day after delivery of a Trigger Notice but have not yet been allowed by the Court,

such professional fees and expenses of the Retained Professionals shall constitute Professional

Fees benefiting from the Carve-Out upon their allowance by the Court, whether by interim or final

compensation order and whether before or after delivery of the Trigger Notice, and the Carve-Out

Account shall be funded to include such professional fees and expenses.

               (h)     Limitation on Responsibility of Secured Parties. None of the Prepetition

Secured Parties shall be responsible for the payment or reimbursement of any fees or expenses of

any Retained Professional incurred in connection with these chapter 11 cases or any Successor

Cases. Nothing in this Interim Order shall be construed to obligate the Prepetition Secured Parties

to pay compensation to, or to reimburse the expenses of, any Retained Professional or to guarantee

that the Debtors have sufficient funds to pay such compensation or reimbursement.


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       5.        Payments Free and Clear. Subject to the Carve-Out and paragraph 15 of this

Interim Order, any and all payments or proceeds remitted to the Prepetition Agents on behalf of

the Superpriority Lenders and Stub Lenders (together, the “Prepetition Lenders”) pursuant to the

provisions of this Interim Order, the Prepetition Credit Documents or any subsequent order of this

Court, shall be irrevocable, received free and clear of any claim, interest, charge, assessment or

other liability or encumbrance.

       6.        Adequate Protection. The Prepetition Secured Parties are entitled, pursuant to

Bankruptcy Code sections 361, 363(e) and 364, and in consideration of the stipulations and

consents set forth herein, to adequate protection of their respective interests in the applicable

Prepetition Collateral (including Cash Collateral), to the extent of any Diminution in Value of their

interests therein. As adequate protection, the Prepetition Agents, for the benefit of the Prepetition

Secured Parties, are hereby granted the following (collectively, the “Adequate Protection

Obligations”):

                        (1)    Superpriority Adequate Protection Liens. To the extent of any

Diminution in Value of their interests in the Prepetition Collateral, the Superpriority Agents, for

the benefit of the Superpriority Secured Parties, are hereby granted (effective and automatically

perfected upon the Petition Date and without the necessity of the execution by the Debtors of

security agreements, pledge agreements, mortgages, financing statements or other agreements),

additional and replacement valid, binding, enforceable, non-avoidable, effective and automatically

perfected liens on, and security interests in (the “Superpriority Adequate Protection Liens”) any

and all tangible and intangible pre- and postpetition property of the Debtors, whether existing

before, on or arising after the Petition Date, together with any proceeds thereof, including, without

limitation, any and all cash and any investment of such cash, inventory, accounts receivable, other


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rights to payment whether arising before or after the Petition Date, contracts, properties, plants,

fixtures, machinery, equipment, general intangibles, goods, investment property, documents,

instruments, securities, chattel paper, interests in leaseholds, real properties, deposit accounts,

securities accounts, patents, copyrights, trademarks, trade names, rights under license agreements

and other intellectual property, capital stock of subsidiaries, wherever located, and the proceeds,

products, rents and profits of the foregoing, whether arising under Bankruptcy Code section 552(b)

or otherwise, of all the foregoing, excluding causes of action under chapter 5 of the Bankruptcy

Code (“Avoidance Actions”), but, upon entry of the Final Order, including proceeds of Avoidance

Actions   (collectively, the “Adequate Protection Collateral”), without the necessity of the

execution, recordation or other filing of any security agreements, control agreements, pledge

agreements, financing statements, mortgages, or other similar documents.

                      (2)     Stub Adequate Protection Liens. To the extent of any Diminution in

Value of their interests in the Prepetition Collateral, the Stub Agent, for the benefit of the Stub

Secured Parties, is hereby granted (effective and automatically perfected upon the Petition Date

and without the necessity of the execution by Casa of security agreements, pledge agreements,

mortgages, financing statements or other agreements), additional and replacement valid, binding,

enforceable, non-avoidable, effective and automatically perfected liens on, and security interests

in (the “Stub Adequate Protection Liens” and, together with the Superpriority Adequate Protection

Liens, the “Adequate Protection Liens”), the Adequate Protection Collateral solely of Casa,

without the necessity of the execution, recordation or other filing of any security agreements,

control agreements, pledge agreements, financing statements, mortgages, or other similar

documents.




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                             (3)      Ranking of Liens. The Carve-Out, the Prepetition Permitted Liens,

the Prepetition Liens and the Adequate Protection Liens granted hereunder shall have the following

priority on the Shared Collateral and Non-Shared Collateral:


                     Shared Collateral                                     Non-Shared Collateral

      First, the Carve-Out                                    First, the Carve-Out

                                                              Second, the Prepetition Superpriority
      Second, the Prepetition Permitted Liens
                                                              Permitted Liens
                                                              Third, the Superpriority Adequate
      Third, Adequate Protection Liens 3
                                                              Protection Liens

      Fourth, the Prepetition Liens 4                         Fourth, the Prepetition Superpriority Liens

                                                              Fifth, the Stub Adequate Protection Liens



                             (4)      Superpriority Section 507(b) Claims. To the extent of any

Diminution in Value of their interests in the Prepetition Collateral, the Superpriority Agents, for

the benefit of the Superpriority Secured Parties, are hereby granted allowed administrative expense

claims against each Debtor with the priority set forth in section 507(b) of the Bankruptcy Code

(the “Superpriority Adequate Protection Claims”); provided, that the Superpriority Adequate

Protection Claims shall be subject and subordinate to the Carve-Out. The Superpriority Adequate

Protection Claims shall be payable from and have recourse to all Adequate Protection Collateral,

including, subject only to entry of the Final Order, any proceeds or property recovered in

connection with the pursuit of the Avoidance Actions.



3
  For the avoidance of doubt, the Superpriority Adequate Protection Liens and the Stub Adequate Protection Liens
shall be pari passu.

4
    For the avoidance of doubt, the Prepetition Superpriority Liens and the Prepetition Stub Liens shall be pari passu.

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                        (5)     Stub Section 507(b) Claims. To the extent of any Diminution in

Value of their respective interests in the Prepetition Collateral, the Stub Agent, for the benefit of

the Stub Secured Parties, is hereby granted an allowed administrative expense claim against Casa

with the priority set forth in section 507(b) of the Bankruptcy Code (the “Stub Adequate Protection

Claims” and, together with the Superpriority Adequate Protection Claims, the “Adequate

Protection Claims”); provided, that, the Stub Adequate Protection Claims shall be subject and

subordinate      to    the     Superpriority      Adequate    Protection      Claims     and     the

Carve-Out. The Stub Adequate Protection Claims shall be payable from and have recourse to all

Adequate Protection Collateral at Casa, including, subject only to entry of the Final Order, any

proceeds or property recovered in connection with the pursuit of the Avoidance Actions.

                        (6)     Reporting. The Debtors shall comply with all reporting

requirements set forth in the Superpriority Credit Documents.

        7.      Right to Seek Additional Adequate Protection. This Interim Order is without

prejudice to, and does not constitute a waiver of, expressly or implicitly, the rights of the

Prepetition Secured Parties to request additional or different forms of adequate protection at any

time or any party in interest’s right to object thereto.

        8.      Perfection of Adequate Protection Liens.

                (a)     The Prepetition Agents are hereby authorized, but not required, to execute

in the name of the applicable Debtors, as their true and lawful attorneys, with full power of

substitution (to the maximum extent permitted by law) and to file or record any financing

statements, intellectual property filings, mortgages, depository account control agreements,

notices of lien, or similar instruments in any jurisdiction in order to validate and perfect the

Adequate Protection Liens. Whether or not the Prepetition Agents, in their sole discretion, choose


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to file or record any such financing instruments, and subject to paragraph 15 herein and the entry

of the Final Order, the Adequate Protection Liens shall be deemed valid, automatically perfected,

allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination, at the

time and on the date of entry of this Interim Order. Upon the request of the Prepetition Agents,

the Debtors, without any further consent of any party, are authorized to take, execute, deliver, and

file such instruments (in the case of the Prepetition Secured Parties, without representation or

warranty of any kind) to enable the Prepetition Agents, to further validate, perfect, preserve and

enforce the Adequate Protection Liens. All such documents will be deemed to have been recorded

and filed as of the Petition Date.

                 (b)    A certified copy of this Interim Order may, in the discretion of the

applicable Prepetition Agents, be filed with or recorded in the filing or recording offices in addition

to or in lieu of any financing statements, mortgages, notices of lien or similar instruments, and all

filing or recording offices are hereby authorized to accept such copy of this Interim Order for filing

or recording.

                 (c)    Any provision of any lease, license, contract or other agreement that

requires (i) the consent or approval of one or more third party or (ii) the payment of any fees or

incurrence of obligations, in order for any Debtor to pledge, grant, sell, assign, or otherwise transfer

any the Debtors’ interests in any lease, license, or other agreement, or the proceeds thereof, or

other collateral related thereto in connection with the granting of the Adequate Protection Liens,

is hereby deemed to be inconsistent with the applicable provisions of the Bankruptcy Code.

Thereupon, any such provision shall have no force and effect with respect to the granting of the

Adequate Protection Liens on the Debtors’ interests in any lease, license, or other agreement or




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the proceeds of any assignment, and/or sale thereof by any Debtor in accordance with the terms of

this Interim Order.

       9.      Section 507(b) Reservation. Nothing herein shall impair or modify the application

of Bankruptcy Code section 507(b) in the event that the adequate protection provided to the

Prepetition Secured Parties is insufficient to compensate them for any Diminution in Value.

Nothing contained herein shall be deemed a finding by the Court, or an acknowledgment by any

of the Prepetition Secured Parties with respect to the existence or non-existence of any Diminution

in Value.

       10.     Termination Events. Unless a Termination Event is waived by the Superpriority

Agent (acting at the direction of the Required Consenting Term Loan Lenders) in writing, subject

to the applicable notice periods and other terms set forth in Paragraph 11 below, the Debtors’ right

to use Cash Collateral shall terminate, without prior order of this Court or any further action by

the Prepetition Secured Parties, on the earliest to occur of any of the following (each,

a “Termination Event”):

                       (1)    the Debtors’ failure to comply with any provision of this Interim

Order and such failure to comply (if curable) shall not have been cured within three (3) business

days following provision of notice of such failure from the Superpriority Agent;

                       (2)    the Debtors shall have breached the Variance Covenant for any

Testing Period with respect to an Approved Budget;

                       (3)    the failure of the Debtors to make any payment due under this

Interim Order within five (5) business days after such payment becomes due;

                       (4)     the date of the Debtors’ filing of an application, motion, or other

pleading seeking to amend, modify, reverse, revoke, stay, rescind, vacate, supplement, or extend


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this Interim Order without the prior written consent of the Required Consenting Term Loan

Lenders;

                       (5)     this Interim Order ceases, for any reason to be in full force and

effect;

                       (6)     the Court shall have entered an order amending, reversing, revoking,

staying, rescinding, vacating, supplementing, extending, or otherwise modifying this Interim

Order without the consent of the Required Consenting Term Loan Lenders, or allowing the use of

Prepetition Collateral or Adequate Protection Collateral on any terms other than as set forth in this

Interim Order without the consent of the Required Consenting Term Loan Lenders;

                       (7)     the date of the Debtors’ filing of any application, motion, or other

pleading seeking approval of debtor in possession financing without the consent of the Required

Consenting Term Loan Lenders, or the entry of an order approving debtor in possession financing

for the Debtors without the consent of the Required Consenting Term Loan Lenders;

                       (8)     the entry of any postpetition judgment against the Debtors in excess

of $500,000;

                       (9)     except with respect to applications for the payment of fees of

Retained Professionals, the date an application, motion, or other pleading is filed by the Debtors

for the approval of any superpriority claim or any lien that is pari passu with or senior to the

Adequate Protection Claims, the Adequate Protection Liens, the Prepetition Liens or the

Prepetition Secured Obligations without the prior written consent of the Required Consenting

Term Loan Lenders;

                       (10)    the date any of the Debtors or any affiliate of the Debtors files any

pleading or commences any action against any Prepetition Secured Party challenging the validity


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or enforceability of any of the Prepetition Secured Obligations or any of the Prepetition Liens or

seeking to avoid, disallow, subordinate, or recharacterize any claim, lien, or interest held by any

of the Prepetition Secured Parties arising under or related to any of the Prepetition Secured

Obligations;

                           (11)     the date any court enters an order dismissing these chapter 11 cases,

converting these chapter 11 cases to cases under chapter 7 of the Bankruptcy Code (each,

a “Successor Case”), appointing a chapter 11 trustee in any of these chapter 11 cases, or an

examiner with expanded powers relating to the operation of the Debtors or administration of any

of these chapter 11 cases, or terminates the Debtors’ exclusive periods under Bankruptcy Code

section 1121, unless, in each case, consented to in writing by the Required Consenting Term Loan

Lenders;

                           (12)      the Court has entered an order granting relief from the automatic

stay in order to permit any party to proceed against any Prepetition Collateral or Adequate

Protection Collateral with a fair market value in excess of $500,000; and

                           (13)     the Restructuring Support Agreement shall have been terminated in

accordance with its terms;

                           (14)     the following milestones (the “Milestones”) are not met, unless

extended or waived by the Required Consenting Term Loan Lenders (as defined in the

Restructuring Support Agreement): 5

                                    (i)      no later than April 3, 2024, the Debtors shall have filed the

                  Plan, the Disclosure Statement, the First Day Pleadings (including a motion seeking



5
  Capitalized terms used but not defined in this paragraph 10 shall have the meanings ascribed to them in section 1 of
the Restructuring Support Agreement.

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               entry of the Cash Collateral Order), the Solicitation Procedures Motion, the Bar

               Date Motion, the Bidding Procedures Motion, and the Private Sale Motion;

                              (ii)    no later than April 5, 2024, the Bankruptcy Court shall have

               entered this Interim Cash Collateral Order;

                              (iii)   no later than April 23, 2024, the Debtors shall have filed

               their schedules of assets and liabilities and statements of financial affairs;

                              (iv)    no later than April 24, 2024, the Bankruptcy Court shall have

               entered the Private Sale Order, the Final Cash Collateral Order, the Solicitation

               Procedures Order, and the Bar Date Order;

                              (v)     no later than April 26, 2024, the Debtors shall have

               commenced solicitation of votes to accept or reject the Plan;

                              (vi)    no later than May 10, 2024, the Debtors shall have filed the

               Plan Supplement;

                              (vii)   no later than May 31, 2024, the Bankruptcy Court shall have

               held a hearing on confirmation of the Plan and approval of any Sale Transaction;

                              (viii) no later than May 31, 2024, the Bankruptcy Court shall have

               entered the Confirmation Order, an order granting final approval of the Disclosure

               Statement and the Sale Order approving the sale of the Cable Assets; and

                              (ix)    no later than June 6, 2024, the Plan Effective Date shall have

               occurred and the Sale Transactions shall have closed.

       11.     Remedies Upon a Termination Event. The Debtors shall provide notice to counsel

to the Prepetition Agents, counsel to any statutory committee appointed in these chapter 11 cases,

and the U.S. Trustee immediately upon knowledge of the occurrence of any Termination Event.


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Upon the occurrence of a Termination Event, following the giving of not less than four (4) business

days’ (the “Notice Period”) written notice (the “Enforcement Notice”), which may be given by

email, to counsel to the Debtors, the U.S. Trustee, counsel to any official committee of unsecured

creditors, (i) the authorization for the Debtors’ use of Cash Collateral shall terminate, and (ii) the

Superpriority Secured Parties may seek to exercise any rights and remedies available to them under

the Prepetition Credit Documents, this Interim Order or applicable law, subject to the Carve-Out

(and the automatic stay shall be automatically terminated at the end of the Notice Period to allow

them to do so, unless the Court orders otherwise). The Debtors shall be entitled to seek an

emergency hearing during the Notice Period, or such other time as this Court can schedule the

hearing in accordance with the Local Rules. The Debtors and the Prepetition Secured Parties agree

not to oppose a request by any party for an expedited hearing filed during such Notice Period.

       12.      Preservation of Rights Granted Under this Interim Order.

                (a)    Subject to the Carve-Out, other than as set forth in this Interim Order, the

Adequate Protection Liens shall not be made subject to, or pari passu with, any lien or security

interest granted in any of these chapter 11 cases (other than a lien that is perfected subsequent to

the Petition Date in accordance with section 546(b) of the Bankruptcy Code) or any lien or security

interest that is avoided and preserved for the benefit of the Debtors’ estates under Bankruptcy Code

section 551.

                (b)    In the event this Interim Order or any provision hereof is vacated, reversed,

or modified on appeal or otherwise, the validity and priority of any liens or claims granted to the

Prepetition Secured Parties hereunder arising prior to the effective date of any such vacatur,

reversal, or modification shall be governed in all respects by the original provisions of this Interim

Order, including entitlement to all rights, remedies, privileges, and benefits granted herein, and the


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Prepetition Secured Parties shall be entitled to the protections afforded in Bankruptcy Code section

363(m) with respect to all uses of the Prepetition Collateral (including Cash Collateral) and all

Adequate Protection Obligations.

                (c)     Notwithstanding any order dismissing any of these cases under Bankruptcy

Code section 1112 or otherwise, (x) the Adequate Protection Liens, the Adequate Protection

Claims and the other administrative rights and benefits granted pursuant to this Interim Order shall

continue in full force and effect and shall maintain their priorities as provided in this Interim Order

until all Adequate Protection Obligations and Prepetition Secured Obligations are indefeasibly

paid in full, in cash; (y) all Adequate Protection Liens, Adequate Protection Claims and other rights

and benefits granted pursuant to this Interim Order shall remain binding on all parties in interest;

and (z) this Court shall retain jurisdiction for the purposes of enforcing the rights, claims, liens,

and security interests referred to in this Paragraph to the extent allowed by applicable law.

                (d)     Except as expressly provided in this Interim Order, the Adequate Protection

Liens, the Adequate Protection Claims, and all other rights and remedies of the Prepetition Secured

Parties granted by this Interim Order shall survive, shall maintain their priority as provided in this

Interim Order, and shall not be modified, impaired or discharged by (i) the entry of an order

converting any of these chapter 11 cases to a Successor Case, dismissing any of the cases,

terminating the joint administration of the cases, or (ii) the entry of an order confirming a plan in

any of these cases. The terms and provisions of this Interim Order shall continue in these chapter

11 cases, in any Successor Cases, or if these cases are no longer jointly administered. The

Adequate Protection Liens and the Adequate Protection Claims and all other rights and remedies

of the Prepetition Secured Parties granted by this Interim Order shall continue in full force and

effect until the effective date of the Plan.


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       13.     Professional Fees.

               (a)     The Debtors are authorized and directed to pay, without further Court order,

the reasonable and documented fees and expenses whether incurred before or after the Petition

Date of (i) professionals retained by the ad hoc group of Superpriority Lenders (the “Ad Hoc Group

Professionals”), including but not limited to (A) Akin Gump Strauss Hauer & Feld LLP, as

counsel, (B) FTI Consulting, Inc., as financial advisor, (C) Ashurst LLP, as Australian counsel and

(d) Blank Rome LLP, as Delaware counsel; and (ii) Paul Hastings LLP, as counsel to the

Prepetition Agents, and, if necessary, local counsel to the Prepetition Agents (collectively,

the “Lender Professionals”). The Lender Professionals shall not be required to file motions or

applications with respect to the fees and expenses incurred by the Lender Professionals (the

“Lender Professionals Fees”); provided, however that any time such professionals seek payment

of fees and expenses from the Debtors, each professional shall provide summary copies of its fee

and expense statements or invoices (which shall not be required to contain time entries and which

may be redacted or modified to the extent necessary to delete any information subject to the

attorney-client privilege, any information constituting attorney work product, or any other

confidential information, and the provision of such invoices shall not constitute any waiver of the

attorney-client privilege or of any benefits of the attorney work product doctrine) to counsel to the

Debtors, the U.S. Trustee and counsel to any Committee (collectively, the “Fee Notice Parties”).

If no objection to payment of the requested Lender Professional Fees and expenses is made, in

writing, by any of the Fee Notice Parties within ten (10) calendar days after delivery of such

invoices (the “Fee Objection Period”), then such invoice shall be promptly paid, without further

order of, or application to, the Court or notice to any other party, and, in any case, within five (5)

calendar days following the expiration of the Fee Objection Period and shall not be subject to any


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further review, challenge, or disgorgement. For the avoidance of doubt, the provisions of such

invoices shall not constitute a waiver of attorney-client privilege or any benefits of the attorney

work product doctrine. If within the Fee Objection Period, a Fee Notice Party sends to the affected

professional and files with the Court a written objection to such invoice, then only the disputed

portion of such Lender Professionals Fees shall not be paid until the objection is resolved by the

applicable parties in good faith or by order of the Court, and any undisputed portion shall be paid

within five (5) calendar days following the expiration of the Fee Objection Period.

                (b)     In addition, the Debtors will indemnify the Prepetition Secured Parties and

the Prepetition Agents and their respective affiliates, and hold them harmless from and against

reasonable and documented out-of-pocket costs, expenses and liabilities arising out of, in

connection with, or by reason of the transactions contemplated hereby, including in respect of the

granting of Adequate Protection Liens, Adequate Protection Claims, and all documents related to

and all transactions contemplated by the foregoing.

        14.     Limitation on Use of Cash Collateral. Subject to Paragraph 15, none of the

Adequate Protection Collateral, Prepetition Collateral, Cash Collateral, or the Carve-Out may be

used to: (i) investigate, initiate, prosecute, join, or finance the initiation or prosecution of any

claim, counterclaim, action, suit, arbitration, proceeding, application, motion, objection, defense,

or other litigation of any type (a) against any of the Prepetition Secured Parties (each in their

capacities as such), (b) seeking to invalidate, set aside, avoid or subordinate, in whole or in part,

any Prepetition Secured Obligations or Prepetition Liens or (c) for monetary, injunctive, or other

affirmative relief against any of the Prepetition Secured Parties (in their capacities as such);

(ii) object to challenge in any way the legality, validity, extent, priority, perfection or

enforceability of the claims, liens, or interests (including the Prepetition Liens) held by or on behalf


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of each of the Prepetition Secured Parties related to the Prepetition Secured Obligations; (iii) assert,

commence or prosecute any claims or causes of action against any Prepetition Secured Party; (iv)

prosecute an objection to, contest in any manner or raise any defenses to, the validity, extent,

amount, perfection, priority or enforceability of any of the Prepetition Liens or any other rights or

interests of any of the Prepetition Secured Parties related to the Prepetition Secured Obligations or

(v) take any action that, if successful, would be reasonably likely to result in a Termination Event;

provided that up to $25,000 of the Prepetition Collateral, including Cash Collateral

(the “Committee Investigation Budget”), may be used by a Committee appointed in the Debtors’

chapter 11 cases to investigate the claims and liens of the Prepetition Secured Parties, solely with

respect to the Prepetition Secured Obligations and Prepetition Collateral within the Challenge

Period (as defined below).

       15.     Effect of Stipulations on Third Parties.

               (a)     The acknowledgments, stipulations, admissions, waivers and releases

contained herein shall be binding upon the Debtors, their estates, and any successor or assigns

thereto upon entry of this Interim Order. The acknowledgments, stipulations, admissions, waivers

and releases contained in this Interim Order shall also be binding upon all other parties in interest,

including any Committee, or any chapter 7 or chapter 11 trustee appointed or elected for any of

the Debtors (a “Trustee”), unless (i) such party, having obtained the requisite standing, has duly

filed an adversary proceeding or contested matter challenging the validity, perfection, priority,

extent, or enforceability of the Prepetition Liens or the Prepetition Secured Obligations, or

otherwise asserting or prosecuting any other claims, counterclaims or causes of action, objections,

contests, or defenses (each, a “Challenge”) against the Prepetition Secured Parties in connection

with any matter related to the Prepetition Credit Documents, the Prepetition Collateral, the


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Prepetition Liens, or the Prepetition Secured Obligations by no later than the earlier of (A)

confirmation of a chapter 11 plan for the Debtors, (B) entry of an order under Bankruptcy Code

section 363 approving the sale of all or substantially all of the Debtors’ assets, other than the sale

of the Debtors’ cloud-native software portfolio and radio access networks businesses and related

assets to Lumine Group Holdco, Inc. or (C) seventy-five (75) calendar days from the entry of this

Interim Order, subject to further written extension (which writing may be in the form of e-mail by

counsel) by the Superpriority Agents (at the direction of the Required Consenting Term Loan

Lenders) (the “Challenge Period”); provided that in the event that, prior to the expiration of the

Challenge Period, (x) any of these cases is converted to a Successor Case or (y) a chapter 11 trustee

is appointed, then, in each such case, the Challenge Period shall be extended for a period of thirty

(30) days solely with respect to any Trustee, commencing on the occurrence of either of the events

described in the foregoing clauses (x) and (y); and (ii) an order is entered by a court of competent

jurisdiction and becomes final and non-appealable in favor of the party asserting any Challenge

sustaining any Challenge in such duly filed adversary proceeding or contested matters. If no such

adversary proceeding or contested matter is filed prior to the expiration of the Challenge Period,

without further order of this Court: (x) the Prepetition Secured Obligations shall constitute allowed

claims, not subject to any Challenge (whether characterized as a counterclaim, setoff,

subordination, recharacterization, defense, avoidance, contest, attack, objection, recoupment,

reclassification, reduction, disallowance, recovery, disgorgement, attachment, “claim” (as defined

by Bankruptcy Code section 101(5)), impairment, subordination (whether equitable, contractual

or otherwise), or other challenge of any kind pursuant to the Bankruptcy Code or applicable non-

bankruptcy law), for all purposes in the chapter 11 cases and any Successor Cases, if any; (y) the

Prepetition Liens shall be deemed to have been, as of the Petition Date, legal, valid, binding,


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perfected, non-avoidable liens, not subject to setoff, subordination, defense, avoidance,

impairment, disallowance, recharacterization, reduction, recoupment, or recovery; and (z) the

Prepetition Secured Obligations, the Prepetition Liens, and the Prepetition Secured Parties (in their

capacities as such) shall not be subject to any other or further Challenge and all parties in interest

(including any estate representative or a Trustee, whether such Trustee is appointed or elected prior

to or following the expiration of the Challenge Period) shall be forever enjoined and barred from

seeking to exercise the rights of the Debtors’ estates or taking any such action. If an adversary

proceeding or contested matter is timely filed by a party that has been granted standing prior to the

expiration of the Challenge Period, (i) the stipulations and admissions contained in this Interim

Order shall nonetheless remain binding and preclusive on all parties in interest, except for the party

that has timely filed such adversary proceeding and solely as to the stipulations or admissions that

are specifically and expressly challenged in such adversary proceeding or contested matter; and

(ii) any Challenge not brought in such adversary proceeding or contested matter shall be forever

waived; provided that, if and to the extent any Challenge to a particular stipulation or admission is

withdrawn, denied or overruled by entry of an order by a court of competent jurisdiction, such

order shall be binding on the Debtors’ estates and all parties in interest. For the avoidance of

doubt, any chapter 7 trustee appointed or elected in these cases shall, until the expiration of the

period provided herein for asserting Challenges, and thereafter for the duration of any adversary

proceeding or contested matter commenced pursuant to this paragraph (whether commenced by

such trustee or commenced by any other party in interest on behalf of the Debtors’ estates), be

deemed to be a party other than the Debtors and shall not, for purposes of such adversary

proceeding or contested matter, be bound by the acknowledgements, admissions, confirmations

and stipulations of the Debtors in this interim order. For the avoidance of doubt, no professional


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fees or expenses of any party shall be funded by the Debtors’ estates in connection with any

Challenge and any fees incurred in respect thereof shall not be required to be paid from Adequate

Protection Collateral or Prepetition Collateral (including Cash Collateral) in order for the Debtors

to confirm a chapter 11 plan and have such plan go effective or consummate any sale of assets

under Bankruptcy Code section 363.

               (b)     Nothing in this Interim Order vests or confers on any person (as defined in

the Bankruptcy Code), including any Committee, standing or authority to pursue any Challenge or

any claims or causes of action belonging to the Debtors or their estates.

       16.     Insurance. At all times the Debtors shall maintain casualty and loss insurance

coverage of the Prepetition Collateral on substantially the same terms as that maintained prior to

the Petition Date.

       17.     Credit Bidding. In the sale or other disposition of any assets of the Debtors, whether

it is sale pursuant to Bankruptcy Code section 363, pursuant to a plan of reorganization or

liquidation, or by a chapter 11 or chapter 7 trustee, subject to Bankruptcy Code section 363(k), the

Superpriority Agents (on behalf, and at the direction, of the Required Consenting Term Loan

Lenders) shall have the unqualified and unconditional right to credit bid: (x) up to the full amount

of the Prepetition Superpriority Obligations and (y) the Adequate Protection Obligations with

respect to the Superpriority Secured Parties. Each Superpriority Secured Party shall automatically

be deemed a “qualified bidder” with respect to any such disposition of assets of the Debtors. The

Superpriority Agents, on behalf, and at the direction, of the Required Consenting Term Loan




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Lenders, shall have the absolute right to assign, sell, or otherwise dispose of its right to credit bid

to any acquisition entity or joint venture formed in connection with such credit bid.

        18.      Cloud/RAN Expense Reimbursement Amounts. 6 The Expense Reimbursement

Amount is hereby approved and shall constitute allowed an allowed administrative expense under

section 503(b) of the Bankruptcy Code. In the event that the Cloud/RAN Asset Purchase

Agreement is terminated pursuant to section 9.1(b), section 9.1(c), or section 9.1(f) therein, (a) the

Debtors are hereby authorized and directed to pay up to $375,000 of the Expense Reimbursement

Amount (the “Initial Portion”) on a senior basis to the Prepetition Secured Obligations and any

other liens of the Prepetition Secured Parties, including the liens granted in this Order; and (b) any

remaining portion of the Expense Reimbursement Amount after payment of the Initial Portion set

forth in the preceding clause (c) (the “Remaining Portion”) shall have the priority of an allowed

administrative expense under the Bankruptcy Code; provided that such Remaining Portion shall

be payable only be payable on or after the effective date after a confirmed chapter 11 plan;

provided further that in the event of a chapter 7 liquidation, claims with respect to the Remaining

Portion shall be valid administrative claims against the Debtors’ estates.

        19.      No Waiver by Failure to Seek Relief. The failure of the Debtors or the Prepetition

Secured Parties to seek relief or otherwise exercise their rights and remedies under this Interim

Order, the Prepetition Credit Documents, or applicable law shall not constitute a waiver of any of

the rights hereunder, thereunder, or otherwise.

        20.      Limitation on Charging Expenses. Subject to entry of the Final Order, except to the

extent of the Carve-Out, no costs or expenses of administration of these chapter 11 cases or any


6
 Capitalized terms used but not defined in this paragraph 18 shall have the meanings provided in section 1.1 of that
certain Asset Purchase Agreement dated April 2, 2024 by and among Casa Systems, Inc. and certain of its Non-Debtor
Affiliates as Sellers and Lumine Group Holdco Inc. as Purchaser.

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Successor Cases at any time, including, without limitation, any costs and expenses incurred in

connection with the preservation, protection, or enhancement of realization by the Prepetition

Agents or the Prepetition Secured Parties, respectively, upon the Prepetition Collateral, shall be

charged against or recovered from the Prepetition Collateral, whether pursuant to Bankruptcy Code

section 506(c), any other legal or equitable doctrine (including unjust enrichment) or otherwise,

without the prior written consent of the Required Consenting Term Loan Lenders, and no such

consent shall be implied, directly or indirectly, from anything contained in this Interim Order

(including, without limitation, consent to the Carve-Out or the approval of any budget hereunder)

or from any other action, inaction, or acquiescence by any of the Prepetition Secured Parties.

       21.     No Marshaling; Section 552(b) Waiver. Subject to entry of the Final Order, in no

event shall the Prepetition Agents or the Prepetition Secured Parties be subject to the equitable

doctrine of “marshaling” or any similar doctrine with respect to the Adequate Protection Collateral,

Adequate Protection Obligations, Prepetition Collateral or the Prepetition Secured Obligations,

and all proceeds shall be received and applied in accordance with the Prepetition Loan Documents.

Each of the Prepetition Secured Parties shall be entitled to all of the rights and benefits of

Bankruptcy Code section 552(b), and in no event shall the “equities of the case” exception in

Bankruptcy Code section 552(b) apply to the Prepetition Secured Parties or the Prepetition

Collateral.

       22.     Binding Effect; Successors and Assigns. The provisions of this Interim Order,

including all findings herein, shall be binding upon all parties in interest in these cases, including,

without limitation, the Prepetition Secured Parties, any Committee, the Debtors, and their

respective successors and assigns (including any Trustee, an examiner appointed pursuant to

Bankruptcy Code section 1104, or any other fiduciary appointed as a legal representative of any


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of the Debtors or with respect to the property of their estates) and shall inure to the benefit of the

Prepetition Secured Parties.

       23.     Limitation of Liability. In permitting the use of their Cash Collateral, or exercising

any rights or remedies as and when permitted pursuant to this Interim Order, the Prepetition

Secured Parties shall not be deemed to be in control of the operations of the Debtors or to be acting

as a “responsible person” or “owner or operator” with respect to the operation or management of

the Debtors or their business, nor shall they owe any fiduciary duty to any of the Debtors, their

creditors or estates, or constitute or be deemed to constitute a joint venture or partnership with any

of the Debtors. Furthermore, nothing in this Interim Order shall in any way be construed or

interpreted to impose or allow the imposition upon the Prepetition Secured Parties of any liability

for any claims arising from the prepetition or postpetition activities of any of the Debtors and their

respective affiliates (as defined in Bankruptcy Code section 101(2)).

       24.     Master Proofs of Claim. None of the Prepetition Secured Parties shall be required

to file a proof of claim in any of these chapter 11 cases or successor cases, as applicable, and the

Debtors’ Stipulations set forth herein shall be deemed to constitute a timely filed proof of claim

(but as to which the Debtors may not object), with respect to the Prepetition Secured Obligations.

However, notwithstanding the foregoing or anything to the contrary in the Motion or this Interim

Order, the Prepetition Agents are authorized, but not directed or required, to file one master proof

of claim on behalf of the Prepetition Secured Parties on account of any and all claims arising under

the Prepetition Credit Documents or hereunder (a “Master Proof of Claim”). For administrative

convenience, any such Master Proof of Claim may be filed in the case of Debtor Casa Systems,

Inc., and such Master Proof of Claim shall be deemed to have been filed and asserted against all

Debtors. For the avoidance of doubt, the provisions set forth in this Paragraph and any Master


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Proof of Claim filed pursuant to the terms hereof are intended solely for the purpose of

administrative convenience and shall not affect the substantive rights of any party in interest,

including, without limitation, the numerosity requirements set forth in Bankruptcy Code section

1126. The Prepetition Agents shall not be required to attach any instruments, agreements, or other

documents evidencing the obligations owing by each of the Debtors to the Prepetition Secured

Parties, which instruments, agreements, or other documents will be provided upon written request

to counsel to the Prepetition Agents.

       25.     Automatic Stay Modified. The automatic stay shall be modified to the extent

necessary to allow the Prepetition Secured Parties to provide any notices to the Debtors or take

any other action as contemplated by and in accordance with this Interim Order.

       26.     No Third-Party Rights. Except as explicitly provided for in this Interim Order, any

rights and obligations granted in this Interim Order inure solely for the benefit of the Prepetition

Secured Parties, and no third party shall have any rights hereunder.

       27.     Necessary Action. The Debtors are authorized to take any and all actions and to

make, execute and deliver any and all instruments as may be reasonably necessary to implement

the terms of this Interim Order and the transactions contemplated hereby.

       28.     Effectiveness. This Interim Order shall constitute findings of fact and conclusions

of law and shall be effective as of the Petition Date.        Notwithstanding Bankruptcy Rules

4001(a)(3), 6004(h), 6006(d), 7062 or 9024 or any other Bankruptcy Rule, this Interim Order shall




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be immediately effective and enforceable upon its entry, and there shall be no stay of execution or

effectiveness of this Interim Order.

        29.      Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003 and 6004,

in each case to the extent applicable, are satisfied by the contents of the Motion.

        30.      Final Hearing. The Final Hearing shall be held on April [●], 2024, at [●], prevailing

Eastern Time; provided that the Final Hearing may be adjourned or otherwise postponed upon the

Debtors filing a notice of such adjournment if the Required Consenting Term Loan Lenders so

consent. The Debtors shall provide notice of the Final Hearing and the proposed Final Order in

accordance with the Local Rules to all parties having been given notice of the Hearing and to any

other party entitled to notice pursuant to Local Rule 9013-(m) and Bankruptcy Rule 2002. Any

objections or responses to entry of the Final Order shall be filed on or before [●], prevailing Eastern

Time, on April [●], 2024 and shall be served upon: (i) the Debtors, 100 Old River Road, Andover,

MA 01810; (ii) counsel to the Debtors, (a) Sidley Austin LLP, 787 Seventh Ave, New York, New

York 10019, Attn:        Steven E. Hessler, Esq. (shessler@sidley.com), Patrick Venter, Esq

(pventer@sidley.com), and Margaret R. Alden (malden@sidley.com) and (b) Young Conaway

Stargatt & Taylor, LLP, 1000 North King Street, Rodney Square, Wilmington, Delaware 19801,

Attn:         Joseph   Barry,   Esq.   (jbarry@ycst.com)     and    Joseph    M.      Mulvihill,   Esq.

(jmulvihill@ycst.com); (iii) counsel to the Ad Hoc Group, (a) Akin Gump Strauss Hauer & Feld

LLP, One Bryant Park, New York, NY 10036 (Attn: Philip C. Dublin (pdublin@akingump.com),

Kevin Eide (keide@akingump.com), and Melanie A. Miller (melanie.miller@akingump.com), and

(b) Blank Rome LLP, 1201 N. Market Street, Suite 800, Wilmington, DE 19801 (Attn: Stanley B.

Tarr (stanley.tarr@blankrome.com); (iv) counsel to the Prepetition Agents, Paul Hastings LLP,

200 Park Avenue, New York, NY 10036 (Attn: Alex Cota (alexcota@paulhastings.com) and Sam


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Lawand (samlawand@paulhastings.com)); (v) counsel to the Committee, if any; and (vi) the

Office of the U.S. Trustee for the District of Delaware, J. Caleb Boggs Federal Building, 844 King

Street, Room 2207, Wilmington, DE 19801, Attn:           Jane M. Leamy and Malcom M. Bates

(jane.m.leamy@usdoj.gov and malcom.m.bates@usdoj.gov).

       31.     Retention of Jurisdiction. The Court shall retain jurisdiction to resolve any and all

disputes arising under or related to the provisions of this Interim Order, and to enforce all of the

conditions of this Interim Order.




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                       Exhibit 1

                    Approved Budget
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Casa Systems, Inc.
Cash Collateral Budget
($ in millions)
                                                      Petition Date: 4/3
                       Week No. >>            1            2           3           4              5               6          7           8           9              10          11            Total
                     Week Ending >>        4/1/24       4/8/24     4/15/24      4/22/24        4/29/24         5/6/24     5/13/24     5/20/24     5/27/24         6/3/24     6/10/24         Forecast
Total Receipts                                 4.8          0.1         3.4             2.2         2.0            1.4         1.6         7.2         1.2            1.3         0.5             25.7
Operating Disbursements
 Vendor Payments                              (0.8)         (0.1)       (0.1)          (0.1)       (0.8)          (0.2)       (0.0)       (0.3)       (1.4)          (1.0)       (2.7)             (7.6)
 Payroll & Benefits                           (1.9)         (0.3)       (2.2)          (0.8)       (2.4)          (0.8)       (2.3)       (0.1)       (1.4)          (0.2)       (0.9)            (13.1)
 Rent & Utilities                               -             -           -            (0.4)         -              -           -           -         (0.4)            -           -               (0.8)
 All Other                                      -             -           -              -           -              -         (0.8)         -           -              -         (0.8)             (1.5)
Total Operating Disbursements                 (2.6)         (0.4)       (2.3)          (1.3)       (3.1)          (1.0)       (3.1)       (0.4)       (3.3)          (1.3)       (4.4)            (23.1)
Operating Cash Flow                    $       2.2    $     (0.3) $     1.1     $       1.0    $   (1.1) $         0.4    $   (1.5) $      6.8    $   (2.1) $        (0.0) $     (3.9)   $          2.6
Non-Operating Disbursements
 Capital Expenditures                           -           (0.1)         -              -           -              -         (0.1)         -           -              -         (0.1)             (0.3)
 Debt service (payments) / proceeds             -             -           -              -           -              -           -           -           -              -           -                 -
Total Non-Operating Disbursements               -           (0.1)         -              -           -              -         (0.1)         -           -              -         (0.1)             (0.3)
Restructuring Adjustments
 Professional Fees                            (3.6)         (1.2)       (1.1)          (1.2)       (3.8)          (1.2)       (1.2)       (1.2)       (1.2)          (1.1)       (1.2)            (18.0)
 RIF/Severance                                (0.1)           -           -              -           -              -         (0.0)         -           -              -           -               (0.1)
 FDM Relief                                     -             -         (0.3)          (0.3)       (0.3)          (0.3)       (0.3)       (0.3)       (0.3)          (0.3)         -               (2.0)
 Cloud Sale Proceeds                            -             -           -              -         15.0             -           -           -           -              -           -               15.0
 Utility Deposit                                -           (0.2)         -              -           -              -           -           -           -              -           -               (0.2)
Total Restructuring Adjustments               (3.7)         (1.4)       (1.4)          (1.4)       11.0           (1.4)       (1.4)       (1.5)       (1.4)          (1.4)       (1.2)             (5.2)
Net Cash Flow                          $      (1.5) $       (1.8) $     (0.3) $        (0.5) $      9.9    $      (1.0) $     (3.0) $      5.4    $   (3.5) $        (1.4) $     (5.2)   $         (2.9)
Beginning Cash Balance                 $      10.5 $         9.1 $       7.3 $          7.0 $       6.6    $      16.5 $      15.5 $      12.4    $   17.8 $         14.3 $      12.9    $        10.5
Net Cash Flow                                 (1.5)         (1.8)       (0.3)          (0.5)        9.9           (1.0)       (3.0)        5.4        (3.5)          (1.4)       (5.2)            (2.9)
Ending Book Cash Balance               $       9.1    $     7.3     $   7.0     $       6.6    $   16.5    $      15.5    $   12.4    $   17.8    $   14.3    $      12.9    $    7.6    $          7.6
  Less: Restricted cash                       (2.0)         (2.0)       (2.0)          (2.0)       (2.0)          (2.0)       (2.0)       (2.0)       (2.0)          (2.0)       (2.0)             (2.0)
  Less: China                                 (0.8)         (0.7)       (0.2)          (0.1)       (0.5)          (0.1)       (0.1)       (0.6)       (0.4)          (0.1)       (0.4)             (0.4)
Ending Available Cash                  $       6.2    $     4.5     $   4.7     $       4.4    $   13.9    $      13.3    $   10.3    $   15.2    $   11.9    $      10.8    $    5.2    $          5.2
  Less: Intl Cash                             (2.0)         (2.0)       (2.0)          (2.0)       (2.0)          (2.0)       (2.0)       (2.0)       (2.0)          (2.0)       (2.0)             (2.0)
Ending Available Cash - US             $       4.2    $     2.6     $   2.7     $       2.4    $   11.9    $      11.3    $    8.3    $   13.2    $    9.9    $       8.8    $    3.2    $          3.2
  Contingency and Minimum Cash                  -             -           -              -           -              -           -           -           -            (2.0)         -               (2.0)
Ending Cash (Shortfall) - US           $       4.2    $     2.6     $   2.7     $       2.4    $   11.9    $      11.3    $    8.3    $   13.2    $    9.9    $       6.8    $    1.2    $          1.2
                                                                                         Bid Procedures                     Bid       Auction                 Cable Sale
                                                                                    Approved / Cloud Sale Close           Deadline                             Closing
Memo:
Casa US Available Cash                 $       4.2    $     2.6     $   2.7     $       2.4    $   11.9    $      11.3    $    8.3    $   13.2    $    9.9    $       8.8    $    3.2    $          3.2
Casa Intl Available Cash                       2.0          2.0         2.0             2.0         2.0            2.0         2.0         2.0         2.0            2.0         2.0               2.0
Total                                  $       6.2    $     4.5     $   4.7     $       4.4    $   13.9    $      13.3    $   10.3    $   15.2    $   11.9    $      10.8    $    5.2    $          5.2

Note:
Includes both Debtors and Non-Debtors Excluding NetComm Entities
